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For Opinion See 586 F.3d 358 , 581 F.3d 256

                                 United States Court of Appeals, Fifth Circuit.
                                    Seth A. BECKER, Plaintiff- Appellant,
                                                       v.
                                    TIDEWATER, INC.; et al, Defendants.
Tidewater, Inc.; Tidewater Marine, LLC; Twenty Grand Offshore, Inc.; Pental Insurance Company, Ltd.; Certain
             Underwriters at Lloyd's Subscribing to Risk No. LE010620O, Defendants - Appellees,
                                                       v.
 Baker Hughes, Inc.; Baker Oil Tools, Inc, A Division of Baker Hughes Oilfield Operations, Inc., Defendants -
                                                  Appellants.
                                                No. 08-30183.
                                                June 18, 2008.

On Appeal from the United States District Court for the Western District of Louisiana, The Honorable Richard
T. Haik, Sr., Judge Civil Action No. 99-1198

Original Brief of Appellant, Baker Hughes, Inc. and Baker Oil Tools, Inc., A Division of Baker Hughes Oilfield
                                               Operations, Inc.

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Counsel for Defendants/Appellants, Baker, Hughes, Inc. and Baker Oil Tools, Inc., A Division of Baker Hughes,
Oilfield Operations, Inc.
                              STATEMENT REGARDING ORAL ARGUMENT

Baker Hughes, Inc. and Baker Oil Tools, Inc., a Division of Baker Hughes Oilfield Operations, Inc.
(collectively, “Baker”) suggest oral argument is desired and warranted because of the significance and complex-
ity of the legal and factual issues involved in this case. This appeal calls for the resolution of issues pertaining to
maritime contract interpretation, the validity and/or scope of indemnity provisions included in a vessel time
charter agreement, the interplay of indemnity and insurance obligations included in a vessel time charter agree-
ment; gross negligence, and the distinction of employer fault versus time charter/vessel fault under the “dual ca-
                                                                                                      [FN1]
pacity doctrine” recognized by this Court in Kerr-McGee Corp. v. Ma-Ju Marine Services. Inc.                Moreover,
                                                                                             [FN2]
this Court's decision in Marquette Transp. Co., Inc. v. Louisiana Machinery Co., Inc.,              which bears signi-
ficantly upon several of the issues listed above, specifically including the enforceability of an indemnity provi-
sion included in a time charter agreement breached by the purported indemnitee, was not rendered until after the
original trial and appeal of this case. Baker respectfully submits this matter should be heard at oral argument in
order to provide counsel an opportunity to address any questions, comments or concerns which may be held by
this Court regarding the issues presented, and to provide the Court an opportunity to fully explore the effects of
its decisions in this litigation upon these and future litigants.

         FN1. 830 F.2d 1332 (5th Cir. 1987).




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        FN2. 367 F.3d 398 (5th Cir. 2004).

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JURISDICTIONAL STATEMENT
                               [FN3]
Following appeal and remand,           this action proceeded to trial before the district court under the court's ad-




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miralty and maritime jurisdiction set forth in 28 U.S.C. §1333. A bench trial/proceeding was conducted, and fi-
nal judgment was entered by the district court on January 9, 2008. (R.Vol.18, pp.5485-5492, R.E. Tab D). This
judgment disposed of all claims asserted by all parties aside from quantification of any recoverable attorneys'
fees and costs. Timely Notices of Appeal were filed on January 31, 2008 (R.Vol.18, pp.5497-5498, R.E. Tab C)
and February 1, 2008 (R.Vol.18, pp.5499-5500, R.E. Tab C). Jurisdiction in this Court arises under 28 U.S.C.
§1291, under which final judgments of district courts may be appealed as of right.

         FN3. See Becker v. Tidewater Inc., 405 F.3d 257 (5th Cir. 2005), hereinafter referred to as “Becker II.”

ISSUES PRESENTED FOR REVIEW

1. Plaintiff was injured during operations being performed under a Blanket Time Charter Agreement (“Charter”)
                                                            [FN4]
between Baker and Tidewater Marine, Inc. (“Tidewater”).            The Agreement contains reciprocal indemnity
obligations, along with an obligation for Tidewater to procure and maintain Protection and Indemnity (“P&I”)
insurance including Baker as an additional assured. Considering this Court's holding in Ogea v. Loffland Broth-
         [FN5]
ers Co.,       and the line of cases decided thereunder, did the district court err as a matter of law by ruling that
defense and coverage under Tidewater's P&I insurance is not available to Baker?

         FN4. “Tidewater” is also used herein to refer collectively to the Defendant/Appellees, Tidewater, Inc.,
         Tidewater Marine, LLC, and Twenty Grand Offshore, Inc.

         FN5. 622 F.2d 186 (5th Cir. 1980).

2. The operations being performed under the parties' Charter involved the use of Tidewater's vessel, the M/V
REPUBLIC TIDE, which was chartered to Baker but kept under the navigational control of Tidewater at all per-
tinent times. Sections 905(b) and (c) of the Longshore and Harbor Workers' Compensation Act (“the LHWCA”)
[FN6]
        prohibit enforcement of indemnity agreements between an employer (Baker) and a vessel (Tidewater) in
the vessel's favor unless, among other things, the injured employee (Plaintiff) is entitled to LHWCA benefits by
                                                                                   [FN7]
virtue of Section 1333 of the Outer Continental Shelf Lands Act (“the OCSLA”).             Did the district court err
as a matter of law in upholding the Charter's indemnity provisions in favor of the vessel when Plaintiff's entitle-
ment to LHWCA benefits did not derive from the OCSLA?

         FN6. 33 U.S.C. §§ 901-905.

         FN7. 43 U.S.C. § 1331, et seq.

3. Did the district court err as a matter of law by ruling that Tidewater's failure to provide and maintain its vessel
in a safe and seaworthy condition, fit to maintain station for the job, did not constitute breach of the Charter,
rendereding its indemnity provisions unenforceable?

4. Did the district court commit reversible error by holding that Tidewater's willful, reckless disregard for the
safety of others did not constitute gross negligence?

5. Did the district court err as a matter of law by failing to void the Charter's indemnity provisions in light of
Tidewater's grossly negligent conduct which was not included in the scope of the indemnity provided?

6. Did the district court err as a matter of law by ruling that the Charter's indemnity provisions encompassed li-
ability for Plaintiff's special damages when its language expressly states that “[n]otwithstanding anything to the




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contrary” and “regardless of the negligence on the part of any party,” neither Baker nor Tidewater shall be liable
to the other “for any punitive, indirect, incidental, special or consequential damages of any kind or nature?”

7. Did the district court err as a matter of law by ruling that the Charter's indemnity provisions encompass liabil-
ity for costs and attorneys' fees incurred by Tidewater in pursuing its third-party indemnity claim against Baker,
                                                                                                [FN8]
despite the well-established rule in this Circuit that such costs and fees are not recoverable?

         FN8. See, e.g., Weathersby v. Conoco Oil Co., 752 F.2d 953 (5th Cir. 1984).

8. Where Baker's fault in contributing to this accident related solely to its provision, maintenance and use of
tools and equipment supplied to complete well stimulation services for its customers, the condition of Plaintiff's
work environment, and its training and supervision of Plaintiff, did the district court err as a matter of law by as-
sessing of fault against Baker in its capacity as time charterer for this conduct when Baker was immune from all
such conduct in its capacity as Plaintiffs LHWCA employer?

9. Did the district court commit reversible error in refusing to allow the parties to conduct additional discovery
and/or to submit additional evidence, including experts, on the issue of Tidewater's gross negligence and breach
of the Charter in light of this Court's mandate in Becker v. Tidewater. Inc., 335 F.3d 376 (5th Cir. 2003)
(hereinafter referred to as “Becker I”) and decision in Marquette Transp. Co., Inc. v. Louisiana Machinery Co.,
      FN[FN9]
Inc.,           which was not rendered until after the original trial and appeal of this case and bears significantly
on the effects of Tidewater's breach?

         FN9. 367 F.3d 398 (5th Cir. 2004).

STATEMENT OF THE CASE

This lawsuit was initiated by Plaintiff, Seth Becker, against Baker, Tidewater, Cliffs Drilling Co. and R&B Fal-
con USA, following an accident which occurred in the Gulf of Mexico aboard the jack up Cliffs Rig 153.
Plaintiff initially filed suit against Baker, his employer, and Tidewater, as owner of the REPUBLIC TIDE, for
                                  [FN10]
recovery under the Jones Act.             Alternatively, he sought damages from Baker and Tidewater under the
general maritime law and Section 905(b) of the LHWCA. (R.Vol.1, p.l25). His claims against Cliffs Drilling and
R&B Falcon (collectively “Falcon”), the respective owner and operator of the Cliffs Rig 153, were brought un-
der the general maritime law. He later amended his complaint to add Tidewater's underwriters, Pental Insurance
                                                                                                        [FN11]
Co., Ltd. and Certain Underwriters at Lloyd's Subscribing to Risk No. LEO 106200 (“Underwriters”),             as
party defendants. (R.Vol.6, p. 1557).

         FN10. 46 U.S.C. app. §688.

         FN11. “Underwriters” is also meant to include and refer to any and all additional insurance companies
         from which Tidewater may have procured insurance coverage pursuant to the terms of the parties'
         Charter, including without limitation, CNA.

After responding to Plaintiffs suit, Tidewater filed a third-party demand against Baker for defense and indemnity
under the Charter. (R.Vol. 3, p.764). The district court granted Tidewater summary judgment on these claims be-
fore the close of discovery. (R.Vol. 5, p.1375). Later, Underwriters filed their own cross-claims and moved for
summary judgment against Baker on the same grounds. (R.Vol.6, p.1780). By the time their motion was filed,
evidence had emerged implicating Tidewater's gross negligence in causing Plaintiff's accident. Baker opposed




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the motion on grounds that Tidewater's gross negligence was not encompassed in the Charter's indemnity provi-
sions. (R.Vol.7, p.1964). The district court rejected Baker's arguments, holding as a matter of law that the
Charter's indemnity language, though silent as to gross negligence, was nevertheless broad enough to encompass
indemnity for gross negligence. (R.Vol. 8, p. 2288; June 14, 2001 hearing transcript, pp. 2-12; R.E. Tab F). Im-
portantly, this ruling foreclosed additional discovery on the issue of Tidewater's gross negligence.

The case proceeded to trial by jury on July 9, 2001. The jury concluded Plaintiff was a seaman and determined
liability and damages against Baker, under the Jones Act, against Tidewater under the general maritime law and
for unseaworthiness, and against Falcon under the general maritime law. (July 9, 2001 Trial Transcript (“TT”),
pp. 1863-1868.) The district court entered judgment on the jury's verdict on August 27, 2001. (R.Vol. 9, p.2678).

This Court reversed the jury's findings and vacated the liability and damages aspects of the judgment with re-
spect to Baker, Tidewater and Falcon in Becker I. The case was then remanded to the district court for further
                                                                                                     [FN12]
proceedings as an LHWCA case, to proceed in a manner not inconsistent with the Court's opinion.               As a
result, the potential liability of Baker, as Plaintiffs employer, was limited to LHWCA benefits, with its only tort
                                                                                                           [FN13]
exposure being for any §905(b) vessel negligence, in its capacity as time charterer rather than employer.
In addition, the indemnity dispute between Baker and Tidewater was to be considered anew under the applica-
tion of LHWCA Sections 905(b) and (c), as was the issue of Tidewater's gross negligence in causing Plaintiff's
          [FN14]
injuries.

         FN12. Becker I, 335 F.3d at 394.

         FN13. Id. at 393-394, n. 10-11.

         FN14. Id.

On remand, Baker filed a motion to have the matter set as a jury trial de novo and requested a new scheduling
order. (R.Vol.12, p.3321). Conversely, Plaintiff sought leave to amend his complaint to declare that he was pur-
suing his claims under the district court's admiralty and maritime jurisdiction pursuant to Rule 9(h) of the Feder-
al Rules of Civil Procedure and thereby would have no jury. (R.Vol.12, p.3306). The district court granted
Plaintiff's motion, denied Baker's motion and ordered the matter to go forward as a limited bench proceeding.
(R.Vol.12, p.3567). Baker appealed, but the district court's ruling was affirmed in Becker II.

The case was again remanded and set for a bench trial to take place on December 12, 2005. (R.Vol. 13, p. 3693).
Leading up to trial, Baker requested leave of court to conduct additional limited discovery and to submit addi-
tional evidence, including expert testimony, regarding the issues to be addressed by the district court pursuant to
the Becker I decision, particularly with respect to Tidewater's gross negligence. (R.Vol. 13, p.3725). With only
six days left to trial, the district court granted Baker leave to take supplemental depositions of those witnesses it
had deposed before the original trial, denied leave for additional depositions, denied leave to retain an expert on
the issue of gross negligence, and denied the remainder of Baker's requests. (R.Vol. 17, p. 4811, R.E.Tab E.1).

Baker also filed several pre-trial Motions for Summary Judgment pertaining to the validity of the Charter's in-
demnity provision (R.Vol. 14, p.4075), Tidewater's breach of the Charter (R.Vol. 14, p.3950), the exclusion of
special damages from the scope of the Charter's indemnity language (R.Vol.13, p.3894), the exclusion of Tide-
water's costs and attorneys' fees incurred in pursuing its indemnity claims (R.Vol.13, p.3894), and coverage
owed to Baker as an additional assured under Tidewater's insurance policies. (R.Vol.14, p.4122). All of Baker's
motions were denied. (R.Vol. 17, pp. 4813, 4814, 4817, and 4819, R.E. Tab E). In response to the latter two mo-




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tions, the district court affirmatively ruled that Plaintiff's special damages and Tidewater's costs and attorneys'
fees incurred for pursuing its indemnity claims are included within the scope of the Charter's indemnity lan-
guage (R.Vol. 17, p.4814, R.E. Tab E.1), and further that Baker was not entitled to additional assured coverage
under Tidewater's insurance polices procured under the Charter. (R.Vol.17, p.4819, R.E. Tab E.1).

Shortly before trial, Baker and Falcon reached an agreement with Plaintiff to settle all claims between them.
Tidewater refused to participate in negotiations and was thereby excluded from the settlement. Under the agree-
ment, Plaintiff, Baker and Falcon agreed Plaintiff would remain in the case to pursue his claims against Tidewa-
ter, and that any recovery obtained from Tidewater would be shared among the parties to the settlement. The ex-
istence of the agreement was disclosed to Tidewater by letter on December 2, 2005. (R.Vol.17, p.4895).

The matter proceeded to trial on December 12, 2005. Very limited evidence was admitted, Baker proffered the
report of its expert, Captain David Scruton, regarding Tidewater's gross negligence (Baker Proffer B-1, submit-
ted at December 2005 trial, pp.42-43), and the district court took all matters under advisement. The parties were
later allowed to submit post-trial proposed findings of fact and conclusions of law (R.Vol.17, pp. 4905, 4952,
5046, 5091 and R.Vol. 18, p.5147). The district court rendered its ruling on all claims on November 14, 2007.
(R.Vol.18, p.5431).

The court held Tidewater 45% at fault and Baker, as time charterer, 55% at fault in causing Plaintiff's injuries.
(R.Vol.18, p.5445-5453). It further adopted its rulings on Baker's various pre-trial motions and held (1) Tidewa-
ter was not guilty of gross negligence; (2) Tidewater did not breach the Charter in such a way that would have
vitiated its indemnity provision; (3) the Charter's indemnity provision was fully enforceable against Baker; and
(4) the vast majority of Baker's fault in contributing to the accident arose from its capacity as time charterer
rather than employer. (R.Vol.18, pp.5452-5453). Falcon was found free of liability.

Final judgment on the district court's ruling was entered on January 9, 2008. It is from this judgment, and the
district court's rulings on Baker's various pre-trial motions that Baker appeals.

STATEMENT OF FACTS

The factual history of this case has been well documented by this Court in Becker I and II. Therefore, Baker sets
forth only those factual matters which remain pertinent to the issues at hand.

Plaintiff was injured in the course and scope of his employment with Baker Hughes, Inc. on June 18, 1999.
Baker is an oilfield service company engaged in the business of providing various well-simulation services to oil
companies in, among other areas, the Gulf of Mexico. Plaintiff was injured while assisting in a gravel-packing
job aboard the jack up Cliffs Rig 153, which was owned by Falcon and located in the Gulf of Mexico at the time
of his accident.

Completion of the gravel-packing job required use of the M/V REPUBLIC TIDE, a Tidewater-owned vessel
time chartered to Baker and outfitted with specialized equipment to perform well-stimulation services for off-
shore oil wells. The REPUBLIC TIDE was chartered from Tidewater to Baker under a Blanket Time Charter
Agreement (“Charter”) confected on January 23, 1998, which remained in effect at all pertinent times.
(R.Vol.14, p.3931, R.E. Tab G). The Charter required Tidewater to deliver and maintain a seaworthy vessel and
to remain responsible for manning, supplying, maintaining, operating, navigating, and managing the vessel
while it was being used by Baker. (Charter Art. III, VI, VII). Baker assumed responsibility for various fees and
assessments, and was given the right to “install additional equipment in connection with its operations,” but with




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the proviso that all such equipment was to remain Baker's property. (Charter Art. VIII, X).

Tidewater's duty to provide and maintain its vessel is outlined in Article III of the Charter and required that the
REPUBLIC TIDE be, “ properly equipped and in every respect seaworthy and in good running order and in
every way fit and ready for CHARTER'S use and for the employment intended.” (Emphasis added). Addition-
ally, Tidewater was required to “maintain in full force and effect on the vessel any required United States
Coast Guard documents and inspection Certificates, together with any other documents required of the vessel.”
(Emphasis added). The Charter also includes reciprocal indemnity provisions between Baker and Tidewater, and
an obligation for Tidewater to obtain Protection and Indemnity insurance covering Baker as an additional in-
                                                                  [FN15]
sured and waiving subrogation against it. (Charter Art. XI, XIV).         No corresponding insurance obligations
were imposed on Baker.

        FN15. The defense, indemnity and insurance provisions included in the parties' Charter will be quoted
        and more fully discussed in the “ARGUMENT” section of this brief.

Pursuant to its rights under the Charter, Baker kept a coflex hose unit onboard the REPUBLIC TIDE, and sup-
plied a rotating crew of six employees to operate the unit and service Baker's clients. While working as a sum-
mer intern for Baker, Plaintiff was selected to join the REPUBLIC TIDE's crew to observe and assist in the
gravel-pack job aboard the Rig 153. (TT, pp.1271, 1290-1291). In the words of this Court, “[t]hings began to go
                                                                              [FN16]
terribly wrong” from the inception of Plaintiffs involvement in this mission.

        FN16. Becker I, 335 F.3d at 383.

During the voyage to the rig, Tidewater Captain Daniel Givens, first in command of the REPUBLIC TIDE,
called and reported to rig personnel that the REPUBLIC TIDE was running late because of problems with its
bow thruster, and that he needed permission to drop anchor. (TT, pp.553-555, 771-775). He was told to anchor
near the bow of the rig to avoid underwater pipelines located near its stern. When he arrived, however, he de-
cided not to drop anchor due to a leak in the vessel's anchor windlass. (TT, pp. 98-99). Rather than drop anchor
and repair the leak during the gravel pack job, an operation known to take 12 to 18 hours, Captain Givens unilat-
erally determined he would not drop anchor, but would instead maintain the vessel's position through the use of
mooring lines and its faulty bow thruster. (TT, pp. 92-108). Amazingly, Captain Givens notified no one aboard
                                                          [FN17]
the rig that the vessel remained unanchored (TT, p.102).         (It must be noted that Falcon would not have al-
lowed operations to continue had it known the vessel was unanchored. (TT, pp.776)).

        FN17. See also Becker I, 335 F.3d at 383.

The leaking windlass bears significantly on Tidewater's duty to have provided and maintained a seaworthy ves-
sel. The record reveals Tidewater participated in the U.S. Coast Guard's Streamlined Inspection Program
(“SIP”), which required it to conduct a full quarterly inspection of the anchor windlass in March of 1999. Yet
Tidewater failed to conduct such an inspection both in March 1999 and in the quarter during which Plaintiff's
accident occurred. (TT, pp. 246-251). About one month before the accident, however, Clarence Polk, the RE-
PUBLIC TIDE's chief engineer, checked the anchor system's hydraulic fluid level and added an additional 10 to
15 gallons of fluid to the system (TT, p.1475), an inordinate amount.

Along with the anchor windlass malfunction, Tidewater's vessel also came equipped with a faulty bow thruster.
Captain Givens had notified rig personnel of problems with the REPUBLIC TIDE's bow thruster before he even
arrived on location. (Baker Trial Exhibit 13, pp. 14-15, 46, admitted at December 2005 trial, pp.39-40). Yet,




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upon learning of the leak in the anchor windlass, he decided to rely upon the bow thruster to maintain the ves-
sel's position. The danger of his decision was exacerbated by a increasing ocean current moving across the RE-
PUBLIC TIDE's port bow. (TT, p.108). Captain Givens was fully aware of the current and the danger it presen-
ted. His awareness is exhibited by his decision not to use the vessel's “quick-release cleats” when mooring it to
the rig. (TT, p.163). As discussed below, these decisions led directly to the tragedy which has befallen Seth
Becker.

Captain Givens was relieved by second caption Steve Lachney. at approximately 6:00 a.m. on the morning of
Plaintiffs accident. (TT. p.245). By that time, the Baker crew had unwrapped the hose from Baker's coflex hose
unit installed on the REPUBLIC TIDE and ran it from the vessel to the Cliff's Rig 153 (TT, p. 254). Captain
Lachney was also aware the vessel was unanchored when he came on duty, but he too failed to relay that inform-
ation to the rig. Instead, he continued to attempt to hold the vessel's position with the bow thruster, while hoping
its previous problems would not resurface. (TT, p. 280). Unfortunately, his hopes were dashed when the bow
thruster failed during operations, in the face of the ever-increasing current. (TT, pp. 258-259).

With the bow thruster down and the anchor not in use, the REPUBLIC TIDE had no means of holding itself in
position and began to drift starboard with the current. Recognizing the danger of the situation, Captain Lachney
radioed the Rig 153 and informed a Falcon crane operator, John Corkern, that his bow thruster had failed. (TT,
pp. 258-259). At this time, the vessel was attached to the rig only by two stern mooring lines (one port, one star-
board) and the coflex hose. Moments after informing the rig of the bow thruster failure, the. vessel's port stern
mooring line snapped, allowing the vessel to drift further starboard with the current. (TT, p. 260). Captain Lach-
ney instructed two Baker crew members to disconnect the coflex hose from its reel assembly located on the back
of the vessel. (TT, p. 271, 333, 1422). The reel assembly malfunctioned, however, and the crew was unable to
release the hose. Captain Lachney called the rig a second time to inform rig personnel that Baker's crew on
board would need to disconnect the coflex hose at its connection on the rig. This instruction was Captain Lach-
ney's last communication with anyone aboard the Rig 153 prior to Plaintiffs accident. (TT, p.265).

Captain Lachney's order to disconnect the hose was relayed to the Baker crew. In response, Plaintiff and two of
his co-workers proceeded to the main deck to disconnect the hose. While the Baker workers were attempting to
break the hose connection, Captain Lachney decided to purposely break the vessel's starboard stern mooring line
by powering up his engines and pulling away from the rig. (TT, p. 265). Captain Lachney admitted he was fully
aware that he would also be pulling on the coflex hose on which he had sent the Baker hands to work. (TT, p.
311). Yet despite his awareness of the potential mortal danger posed, he made no attempt to alert anyone aboard
the rig of what he was planning to do. (TT, p. 266).

Captain Lachney powered up his engines and snapped the starboard mooring line. As expected, this caused the
vessel to jerk tight on the coflex hose, whipping it across the deck and into Plaintiff, who was pinned between
the hose and a backstop aboard the rig. Plaintiff sustained horrendous injuries and the loss of both his legs as a
                                     [FN18]
result of Captain Lachney's actions.

        FN18. Becker I, 335 F.3d at 383.

SUMMARY OF THE ARGUMENT

The issues presented in this appeal primarily concern the scope, application and enforceability of the reciprocal
indemnity provisions set forth in the Charter and their interaction with Tidewater's separate obligation to procure
and maintain Protection and Indemnity insurance covering Baker as an additional insured.




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                                     [FN19]
In Ogea v. Loffland Brothers Co.,             and the long line of cases decided thereunder, this Court has treated
obligations to obtain insurance by one in favor of the other party as separate and distinct from the indemnity
provisions included in the pertinent contract, has determined insurance obligations prime indemnity and has re-
quired exhaustion of the insurance coverage obtained before indemnity obligations can be enforced. Here, as in
Ogea, the Charter includes reciprocal indemnity obligations, while only the indemnitee (Tidewater) was oblig-
ated to procure insurance coverage naming the indemnitor (Baker) as an additional assured under the Tidewa-
ter's insurance policies. These policies were to include waivers of subrogation in favor of Baker. Consequently,
this case fits squarely within the legal rule espoused by Ogea, which prevents the indemnity obligation from be-
ing effective until Tidewater's insurance coverage is exhausted.

        FN19. 622 F.2d 186 (5th Cir. 1980).

Addtionally, as Tidewater and Underwriters rejected Baker's claims for additional assured coverage, Baker de-
fended itself throughout this litigation. Underwriters owed Baker a defense and should be held responsible to re-
imburse Baker for its entire defense costs. Morever, even should this Court now find a lack of full coverage for
Baker under any of Tidewater's policies, reimbursement of defense costs is still due to Baker through the date
                                   [FN20]
such determination was/is made.

        FN20. See Peavey Co. v. M/V ANPA, 971 F.2d 1168, 1175 (5th Cir. 1992) (“If the policy calls for a de-
        fense of the claim, an insurer has the obligation to provide a defense to its insured, even if ultimately
        the insurers may have no liability under the policy.”). See also Botley v. Mar-DriL Inc., No. 93-1640 at
        *11 (W.D.La. 1996) (Exhibit 4 to Baker's Memorandum in Support of Motion for Summary Judgment
        for Additional Assured Coverage and Defense or Alternatively, Breach of Contract Damages (R.
        Vol.14, p.4122), admitted at December 2005 trial, pp.13-15, R.E. Tab J) (although no coverage under
        the policy was found to exist, duty to defend still applied up until the issuance of the court's ruling on
        coverage).

Should this Court find that Baker is not afforded full additional assured protection under these policies for the
claims Plaintiff and Tidewater brought against it, Tidewater would be in breach of its obligations under the
Charter, thereby rendering it directly liable to Baker for its damages, including attorneys' fees, under the Ogea
                   [FN21]
line of decisions.

        FN21. Ogea, 622 F.2d at 189, citing Stewart v. Cran-Vela Rental Co., Inc., 510 F.2d 982 (5th Cir.
        1975).

Should the indemnity provision itself become relevant, Tidewater's claims for indemnity against Baker fail be-
cause the indemnity agreement is unenforceable for several reasons. First, LHWCA Sections 905(b) and (c) in-
teract to bar enforcement of the indemnity provision against Baker, as Plaintiff's employer, unless Plaintiff was
                                                                                                          [FN22]
entitled to LHWCA benefits by virtue of Section 1333 of the OCSLA. In Wagner v. McDermott, Inc.,
                                                        [FN23]
and Union Texas Petroleum Corp. v. PLT Engineering,             application of the OCSLA was determined based
upon whether the location where the substantial work to be performed under the contract at issue qualified as an
OCSLA situs. The record in this case reflects the substantial work to be completed under the Charter was to take
place on the REPUBLIC TIDE, a vessel, not a situs covered under the OCSLA. Therefore, since the OCSLA is
not implicated, Plaintiff's entitlement to LHWCA benefits does not derive from it, and the Charter's indemnity
provisions are prohibited as to Baker under LHWCA Section 905(b).

        FN22. 899 F.Supp.1551, 1556 (W.D.La.1994), aff'd, 79 F.3d 20 (5th Cir.1996).




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         FN23. 895 F.2d l043 (5th Cir. 1990), cert. denied, 498 U.S. 848, 111 S.Ct. 136, 112 L.Ed.2d 103 (1990)
         .

Second, the indemnity provisions are rendered unenforceable due to Tidewater's preceding breach of the
                                                                                                           [FN24]
Charter. This Court recognized in Marquette Transportation Co., Inc. v. Louisiana Machinery Co., Inc.,
that breach of a contractual warranty may invalidate an indemnity agreement in the same contract. Here, the
Charter required Tidewater to use due diligence to provide Baker with a vessel that was properly equipped, in
good running order and in every way fit for her intended employment. It also required Tidewater to maintain all
required U.S. Coast Guard documents and inspection certificates demonstrating Tidewater's compliance with all
Coast Guard regulations and inspections. Ignoring its obligation, Tidewater failed to conduct a proper inspection
of the anchor and anchor windlass pursuant to its participation in the Coast Guard's Streamlined Inspection Pro-
gram, thereby increasing both the likelihood that an injury would occur, and the severity of the injury which did
occur through the use of its vessel The failure of Tidewater to inspect the anchor deck machinery pursuant to
SIP guidelines was a breach of its obligation to use due diligence to provide a vessel properly equipped, in good
running order and in every way fit for her intended employment. This failure greatly increased the probability
that the anchor would not function properly when needed, materially increasing the scope of the risk of injury to
workers, and the potential liability of Baker under the Charter's indemnity provision. As Tidewater's provision
of a vessel incapable of maintaining a stationary position posed a real risk of severe injury, the scope of the in-
demnity obligation undertaken by Baker was thereby materially and radically changed by Tidewater, such that it
was rendered void and unenforceable.

         FN24. 367 F.3d 398, 408 (5th Cir. 2004).

The third reason indemnity under the Charter is vitiated is by virtue of Tidewater's gross negligence in causing
Plaintiff's injuries. Tidewater's role in this accident includes: (1) misleading rig personnel into believing the RE-
PUBLIC TIDE was anchored during gravel pack operations; (2) relying on a faulty bow thruster to maintain the
vessel's position in the face of an ever-increasing ocean current; and (3) ordering Baker crew members to dis-
connect the coflex hose from the rig, then intentionally powering up the vessel to break the starboard mooring
line, with full awareness doing so would violently drag the coflex hose across the deck in the vicinity of those
Baker crew members without giving any warning whatsoever. “Gross negligence” has been defined as an “entire
absence of care,” the “want of even slight care and diligence,” and the “utter disregard of the dictates of
                                                                      [FN25]
prudence, amounting to complete neglect of the rights of others.”             Here, Tidewater's actions and/or omis-
sions easily fit within these definitions, and as gross negligence was not expressly included in the Charter's in-
demnity language, public policy dictates Tidewater cannot be indemnified for its gross negligence in causing
                     [FN26]
Plaintiffs injuries.

         FN25. The Houston Exploration Co. v. Haliburton Energy Services. Inc., 269 F.3d 528, 532 (5th Cir.
         2001) (internal footnotes and citations omitted).

         FN26. Bisso v. Inland Waterways Corp., 349 U.S. 85, 90, 75 S.Ct. 629, 99 L.Ed. 911 (1955); Todd
         Shipyards Corp. v. Turbine Service. Inc., 674 F.2d 401, 410-411 (5th Cir. 1982).

If, in spite of the foregoing, the indemnity provision is upheld, it can only be enforced with respect to Plaintiff's
general damages. Paragraph XIV of the Charter sets forth the parties' reciprocal indemnity obligations. It also in-
cludes a provision which clarifies that “[n]otwithstanding anything to the contrary contained herein,” the parties
agreed neither “shall be liable to the other for any punitive, indirect, incidental, special or consequential dam-




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ages of any kind or nature,” and that “each party hereby agrees to waive its right of recourse in this regard
against the other party.” This provision is clear and unequivocal, and based upon jurisprudential rules for inter-
preting maritime contracts, fully enforceable against Tidewater to prevent inclusion of special damages from any
award to Tidewater.

Further, the lower court's ruling that Tidewater is entitled to reimbursement of attorneys fees and expenses in-
curred not only in defense, but also in pursuit of indemnity is manifestly erroneous. It is well-settled that in the
absence of express language granting such recovery, an indemnity obligation extends only to cost of defense for
                      [FN27]
the underlying claim.         Therefore, Tidewater is not entitled to recover expenses for pursuing indemnity re-
gardless whether the Charter's indemnity provisions are upheld.

         FN27. Weathersby v. Conoco Oil. Co., 752 F.2d 953 (5* Cir. 1984); Dow Chem. Co. v. M/V Roberta
         Tabor, 815 R2d 1037, 1046 (5th Cir. 1987); Brown v. Sea Mar Mgmt., LLC, 2006 WL 3328194, *4
         (W.D.La. 2006); Baza v. Chevron Oil Service Co., 1996 WL 711506, *5 (E.D.La. 1996); Theriot v.
         A.S.W. Well Service. Inc., 1990 WL 158990, *3 (E.D.La. 1990); Badeaux v. Torch. Inc., 1989 WL
         140227, *2 (E.D.La. 1989); Daughdrill v. Ocean Drilling & Exploration Co., 702 F.Supp. 1267, 1268
         (E.D.La. 1988).

Aside from the issues pertaining to indemnity, the record reflects additional errors of law committed by the dis-
trict court with regard to the characterization of Baker's fault in contributing to this accident as vessel negligence
rather than employer fault. Contrary to the district court's ruling, any breach of Baker's duty to provide Plaintiff
with proper training, supervision and a safe place to work, and its provision and maintenance of equipment to be
used by its employees in their operations, falls within the purview of employer responsibility. Time charterer li-
ability, by contrast, is limited to the breach of defined duties determined by tradition and agreement, which, as
here, generally relate to the carrying of cargo, directing of when and where the vessel will travel and timing of a
voyage. Any duty breached by Baker clearly did not fall within its time charterer role. As such, it is immune
from liability to Plaintiff under Section 905(a) of the LHWCA. Tidewater, then, must be held liable for 100% of
Plaintiff's damages. Such damages are recoverable from Underwriters.

As a final matter, it must be noted the district court abused its discretion by preventing the parties from conduct-
ing additional discovery and submitting additional evidence pertaining to the issues to be addressed on remand
following the Becker I decision. Before this case was originally tried, the district court ruled Baker's indemnity
obligation under the Charter encompassed any gross negligence on the part of Tidewater, thereby preventing
Baker from submitting additional proof thereof. On appeal, after reversing the jury's finding of seaman status,
this Court remanded the matter to proceed as a LHWCA case in a matter not inconsistent with its opinion.
[FN28]
         In footnote eleven to the decision, the Court ordered reconsideration of Tidewater's indemnity claims
under the statutory scheme articulated in LHWCA Sections 905(b) and (c), and a determination of whether any
                                                     [FN29]
of the defendants were guilty of gross negligence.           In spite of this direction, the district court refused ad-
ditional discovery and evidence on these issues beyond allowing Baker to redepose only certain previously-de-
posed witnesses. The court also refused to allow Baker to introduce the report of its vessel operations expert,
Captain David Scruton, pertaining to Tidewater's gross negligence in causing Plaintiff's injuries. Considering
this court's Becker I mandate, Baker submits the district court's refusal constitutes an abuse of discretion.

         FN28. Becker I, 335 F.3d at 394.

         FN29. Id. at 393-394, n. 11.




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Baker avers there is more than enough evidence in the lower court's record to require a finding of gross negli-
gence on the part of Tidewater, justifying the consequent abrogation of the indemnity agreement. If, however,
this Court were to believe otherwise, Baker requests that its proffered expert report of David Scruton be con-
sidered. Further, Baker requests the opportunity to conduct real discovery on these issues, as it has never before
been permitted, such that the full facts have not yet been presented for evaluation. The lower court's judgment
inappropriately limited discovery and expert testimony in this regarding and should be reversed and remanded as
an abuse of discretion.

                                                  ARGUMENT

                                             A. Standards of Review

This appeal involves the district court's interpretation of a maritime contract, which interpretations qualify as
                                                             [FN30]
conclusions of law, and as such are to be reviewed de novo.

        FN30. See, e.g., Marquette Transp., Co., Inc. v. Louisiana Machinery Co., 367 F.3d 398, 402 (5th Cir.
        2004); citing, Dow Chem Co. v. M/V Roberta Tabor. 815 F.2d 1037, 1042 (5th Cir. 1987).

This appeal also pertains to the district court's denial of summary judgment based upon determinations of the ap-
plication of federal statutes such as the LHWCA and OCSLA. These determinations constitute conclusions of
                                                                                    [FN31]
law and, along with denials of summary judgment, are also to be reviewed de novo.

        FN31. Diamond Offshore Co. v. A&B Builders, Inc., 302 F.3d 531, 540 (5* Cir. 2002) (internal cita-
        tions omitted).
                                                                                                           [FN32]
Determinations of gross negligence qualify as findings of fact, subject to the clearly erroneous standard.
A finding of fact is “clearly erroneous” when, in the face of supporting evidence, the reviewing court is still left
                                                                      [FN33]
with “the definite and firm conviction that a mistake has been made.”

        FN32. Houston Exploration Co. v. Halliburton Energy Serv., Inc., 269 F.3d 528, 531 (5th Cir. 2001)
        (internal citations omitted).

        FN33. Id., quoting, U.S. v. United States Gypsum Co., 333 U.S. 364, 395, 68 S.Ct.525, 542, 92 L.Ed.
        746 (1948).

Questions regarding the capacity under which Baker's fault arose concern issues regarding the legal duties owed
to Plaintiff as time charter versus those owed to him as his employer. Whether a defendant owes a plaintiff a leg-
                              [FN34]
al duty is a question of law.         As such, the district court's determinations regarding the characterization of
Baker's fault constitutes conclusions of law to be reviewed de novo.

        FN34. Canal Barge Co., Inc. v. Torco Oil Co., 220 F.3d 370, 376 (5th Cir. 2000).

And finally, questions pertaining to rulings on evidence and discovery are reviewed for abuse of discretion.
[FN35]

        FN35. Price v Rosiek Const. Co., 509 F.3d 704, 707 (5th Cir. 2007) (internal citations omitted).

   B. Insurance Procured by Tidewater Under Blanket Time Charter Agreement Must First be Exhausted




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The Charter was confected between Tidewater and Baker on or about January 23, 1998. Under the Agreement,
Baker is designated as “CHARTERER” and Tidewater as “OWNER.” Article XI addresses insurance and
provides in pertinent part:
OWNER shall during the term hereof procure and maintain in effect the following insurance:

                                                        ***

(ii) Protection and Indemnity Insurance covering the liabilities of OWNER in the amount of $2,000,000 on the
Ocean P&I Clause SP-23 Form or equivalent, including Collision/Towers liability and crew coverage, but ex-
cluding Cargo Liability Coverage and coverage for those risks, if any, assumed or insured by CHARTERER in
this Charter. Such insurance may be subject to a deductible not to exceed $20,000 per occurrence. Such deduct-
ibles shall be for OWNER'S account.
The aforesaid policies shall include CHARTERER, in its capacity as time charterer of the vessel, as an addition-
al assured, but only with respect to the risks assumed by OWNER in this Charter, and shall contain a waiver of
subrogation in favor of CHARTERER, but only with respect to the risks assumed by OWNER in this Charter.

(R.Vol. 14, p. 3931, R.E. Tab G). There is no provision requiring Baker to obtain insurance under the Agree-
ment.

The relevant indemnity provisions are found in Article XIV of the Charter. That Article reads in pertinent part:
None of the CHARTERER INDEMNITEES [Baker] shall have any liability for injury to, illness or death of the
crew of the vessel, or of the employees of OWNER..., however said injury, illness or death arises or occurs,
whether through the negligence in whole or in part of any of the CHARTERER INDEMNITEES, unseaworthi-
ness of any vessel, or otherwise; and OWNER shall protect, defend, indemnify and hold harmless the CHAR-
TERER INDEMNITEES from and against any and all claims, suits, losses, liabilities, expenses, demands, costs
(including reasonable attorneys' fees) and/or damages as a result of such injury, illness or death.
None of the OWNER INDEMNITEES [Tidewater] shall have any liability for injury to, illness or death of the
personnel or employees of CHARTERER [Baker]..., however said injury, illness or death arises or occurs,
whether through the negligence in whole or in part of any of the OWNER INDEMNITEES, unseaworthiness of
any vessel or otherwise; and CHARTER shall protect, defend, indemnify and hold harmless the OWNER IN-
DEMNITEES from and against all claims, suits, losses, liabilities, expenses demands, costs (including reason-
able attorneys' fees) and/or damages as a result of such illness, injury or death.
Notwithstanding anything to the contrary contained herein, it is expressly agreed by and between the parties
hereto that, regardless of the negligence on the part of any party hereto or the unseaworthiness of any vessel,
neither such party shall be liable to the other for any punitive, indirect, incidental, special or consequential dam-
ages of any kind or nature (including, but not limited to, loss of profits, loss of use, loss of hire, and loss of pro-
duction); and each party hereby agrees to waive its rights of recourse in this regard against the other party.

(R.Vol. 14, p. 3931, R.E. Tab G). These provisions exhibit that the Charter has reciprocal indemnity obligations,
but a one-sided insurance requirement in Baker's favor.

Pental Insurance Co. issued a policy (Policy No. M-3900), effective April 1, 1999, providing marine liability
coverage to Tidewater as a named insured and to Baker as an additional assured. (Baker Trial Exhibit 11, admit-
ted at December 2005 trial). The policy, in pertinent part, provides:
[T]he unqualified word “Assured” includes: (i) the “Named Assured”; (ii) if the “Named Assured” is a partner-
ship, the unqualified word “Assured” also includes any partner therein, but only with respect to his liability as




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such; and (iii) any person, organization, trustee or estate to whom or to which the “Named Assured” is obligated
by virtue of a contract or agreement to include or name as an assured, co-assured or additional assured.

(Id. at Marine Liability Form, p.5). In addition, Endorsement No. 2 of the policy designates its $5,000,000 of
coverage as “primary insurance as required by contract.”

Certain Underwriters at Lloyds Subscribing to Risk No. LEO 106200 issued an excess policy, effective April 26,
1999, which also provides marine liability coverage to Tidewater as a named insured and to Baker as an addi-
tional assured (Baker Trial Exhibit 12, admitted at December 2005 trial), and adopts the same definition for in-
sureds as is provided in the underlying Pental policy. (Id. at Endorsement No. 3). Both policies also contain
waivers of subrogation as required under the Charter. (Baker Trial Exhibit 11, General Conditions, p.1; Baker
Trial Exhibit 12, Supplemental Clauses, p. 5).

When considering the application of the above provisions, one must keep in mind the well-accepted principle
that the insurer is a champion of the insured's interest, such that the insured's interests are paramount to those of
             [FN36]
the insurer.         Counsel for Tidewater and Underwriters conceded on December 18, 2003, in open court, that
Baker is entitled to additional assured status under Tidewater's policies. (December 18, 2003 hearing transcript,
p. 21): Thus, Baker is and has been entitled to coverage and defense from Tidewater's insurers for the claims
brought against it in this lawsuit. Fifth Circuit precedent, beginning with Ogea, is controlling and supports this
conclusion.

         FN36. Cousins v. State Farm Mut. Auto. Ins. Co., 294 So.2d 272, 279 (La.App.lst Cir. 1974), writ
         denied, 296 So.2d 837 (La. 1974).

In Ogea, this Court was called to interpret indemnity provisions in a drilling contract. Ogea, the original
plaintiff, was injured on an offshore platform owned by Phillips Petroleum Co. (“Phillips”) and operated by Lof-
fland Brothers (“Loffland”). Ogea was an employee of International Hammer, one of Phillips' contractors. Ogea
filed suit against Loffland, and later, Schlumberger Well Surveying Corporation (“Schlumberger”). One year
later, Loffland filed a third-party complaint against Phillips seeking indemnity. Phillips in turn counter-claimed
against Loffland, asserting that Loffland was obligated to obtain liability insurance covering Phillips and that
any failure to do so constituted a breach of the drilling contract. Loffland and Schlumberger settled with Ogea,
                                        [FN37]
but the claims between them persisted.

         FN37. Id. at 187-188.

The drilling contract's indemnity clauses provided that Loffland would indemnify Phillips “from any and all
claims... asserted by [Loffland's] personnel, agents or invitees, or by the personnel or agents of [Loffland's] sub-
contractors ....” Likewise, Phillips agreed to indemnify Loffland “for all claims ... asserted by [Phillips'] person-
                                                                                             [FN38]
nel, agents or invitees, or by the personnel or agents of [Phillips] subcontractors . . . .”        The contract also
                                                                                                              [FN39]
required Loffland to obtain comprehensive general liability insurance naming Phillips as a co-insured.
Phillips had no reciprocal obligation.

         FN38. Id. at 188.

         FN39. Id.

The district court concluded Phillips did not owe indemnity to Loffland. The court determined that either Loff-




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land acquired the proper insurance protecting Phillips or, if it did not, Loffland had breached the contract. In
                                                                    [FN40]
either circumstance, Phillips could not be held liable to Loffland.

        FN40. Id.

On appeal, Loffland argued only the indemnity provisions of the contract were relevant when evaluating Phil-
lips' liability. This Court dismissed Loffland's argument, instead recognizing that the contract must be viewed as
          [FN41]
a whole.           Reading the indemnity and insurance provisions together, the Court determined that the contract
clearly limited Phillips' liability to only those damages exceeding the limits of insurance coverage afforded to it
                           [FN42]
under Loffland's policy.            In other words, the drilling contract's insurance provision requiring additional
assured coverage was deemed to prime the indemnity agreement.

        FN41. Id. at 189.

        FN42. Id. at 190.
                                                                                        [FN43]
The Ogea decision has been followed on numerous occasions in subsequent years.                  In Woods v. Dravo
                                               [FN44]
Basic Materials Co., Inc. v. U.S. Gypsum Co.,           this Court interpreted a similar contract as again intending
                                                                                                             [FN45]
to exhaust all insurance coverage before having the indemnity provision apply. In Tullier v. Halliburton,
this Court again held that liability coverage maintained by the indemnitee primed the indemnity obligations in-
cluded in the parties' time charter agreement. It identified the controlling and determinative factor in such cases
“is the existence of ‘additional assured’ coverage whereby an indemnitee agreed to procure insurance coverage
                                    [FN46]
for the benefit of the indemnitor.”        When this controlling factor is found to exist, Ogea requires the insur-
                                                                                               [FN47]
ance procured by the indemnitee to be exhausted before the indemnity provisions can apply.

        FN43. See A.M.C. Liftboats, Inc. v. Apache Corp., 2008 WL 217177, *5-6 (E.D.La. 2008); Ruehs v. Al-
        liance Offshore. L.L.C., 2007 WL 275915, *1 (E.D.La. 2007); Consolidated Grain & Baree Co., Inc. v.
        Capital Marine Supply, Inc., 2001 WL 823737, *3 (E.D. La. 2001); In Re Diamond Servs., 2001 WL
        531091, *3 (E.D.La. 2001); Computaloe U.S.A., Inc. v. Mallard Bay Drilling. Inc., 21 F.Supp.2d 620,
        624 (E.D.La. 1998); Tullier v. Halliburton Geophysical Servs., Inc., 81 F.3d 552, 553-554 (5th Cir.
        1996); Saavedra v. Murphy Oil U.S.A., Inc., 930 F.2d 1104, 1104, 1110 (5th Cir. 1991); Klepac v.
        Champlin Petroleum, 842 F.2d 746, 747-748 (5* Cir. 1998).

        FN44. 887 F.2d 618, 621-622 (5th Cir. 1989).

        FN45. 81 F.3d at 553-554.

        FN46. Id. at 554.

        FN47. Id. at 554-555.
                                    [FN48]
Also, in In Re Diamond Services.,          this Court affirmed, without opinion, the district court's underlying
ruling, which extended the rule espoused in Ogea and Tullier to require exhausting available P&I insurance of
the indemnitor regardless whether the policy actually provided the coverage sought. The district court in Dia-
mond held the only logical way to reconcile reciprocal indemnity obligations with one-sided, mandatory insur-
ance requirements, resulting in both companies being insured under the same policy, was to conclude the parties
                                                                                        [FN49]
intended to exhaust the insurance coverage before triggering the indemnity obligations.




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         FN48. 281 F.3d 1279 (5th Cir. 2001).

         FN49. In Re Diamond Servs., 2001 WL 531091 at *3.
                                              [FN50]
Even in Klepac v. Champlin Petroleum Co.,            where the contract's insurance obligation was specifically
tied into the parties' indemnity agreement, the Court still held the pertinent insurance coverage primed any in-
demnity obligation. In Klepac, Western Oceanic, Inc. (“Western”) entered into a drilling contract with Champlin
Petroleum Co. (“Champlin”), requiring Champlin to indemnify Western under certain circumstances but West-
                                                                                               [FN51]
ern to name Champlin as a co-insured on certain insurance policies it was required to obtain.          However,
the contract stated the coverage affored to Champlin under Western's policies extended only to “risks, losses,
and liabilities assumed [t]herein by [Western] or in respect of which [Western] has agreed to indemnify
               [FN52]
CHAMPLIN.”

         FN50. 842 F.2d 746 (5th Cir. 1988).

         FN51. Id. at 747.

         FN52. Id.

The plaintiff, Klepac, sued both companies for injuries he sustained on Western's offshore drilling rig. Western
                                                        [FN53]
filed a cross-claim against Champlin for indemnity.            Champlin argued its indemnity obligation applied
                                                                                            [FN54]
only to amounts exceeding Western's insurance coverage procured under the contract.                 The district court
granted summary judgment in favor of Western. In doing so, it noted that Western was only required “to name
Champlin as co-insured on policies insuring Western's indemnitees to Champlin” not on its comprehensive gen-
                                                     [FN55]
eral liability policies procured under the contract.        On appeal, the district court's ruling was reversed. This
Court instead held Ogea was determinative and compelled it to conclude that Champlin's duty to indemnify
                                                                                                 [FN56]
Western applied only to those amounts of damages exceeding Western's insurance coverage.

         FN53. Id. at 746.

         FN54. Id. at 746-747.

         FN55. Id. at 747. (emphasis in the original).

         FN56. Id. at 748.

The foregoing clearly reveals Tidewater's insurance must be exhausted before the Charter's indemnity provisions
can be applied. This Court has required such a result even where the contract did not require contractual liability
          [FN57]
coverage.         Therefore, where, as here, the additional assured requirement exists, additional assured status
must be recognized and given full effect, entitling Baker to coverage for all claims in this litigation. Only after
the insurance is exhausted can the indemnity obligations come into play.

         FN57. In Re Diamond Servs., 2001 WL 531091 at *2-3.

In addition, Baker is also entitled to reimbursement of its defense costs, regardless whether coverage is held to
apply. As an additional assured under Tidewater's policies, Baker is owed a defense from Underwriters for all
                                              [FN58]
claims brought against it in this litigation.        Underwriters' duty to defend Baker is much broader than its
                   [FN59]
duty to indemnify.         Its duty has been characterized as “expansive;” if the allegations set forth in the un-




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                                                                                                 [FN60]
derlying complaint are even potentially covered under the policy, the duty to defend applies,            and does so
                                                            [FN61]
regardless whether coverage is ultimately found to exist.           Here, the claims brought against Baker clearly
have the potential to be covered under Tidewater's policies. And even if coverage is ultimately found not to ex-
                                                                                                           [FN62]
ist, Baker is still entitled to reimbursement of defense costs through the date of formal judicial denial.

        FN58. Saavedra v. Murphy Oil U.S.A., Inc., 930 F.2d 1104, 1110 (5th Cir. 1991); Peavey Co, v. M/V
        ANPA, 971 F.2d 1168, 1177-1178 (5th Cir. 1992); Botley v. Mar-Dril, Inc., No. 93-1640 at *11
        (W.D.La. 1996) (Exhibit 4 to Baker's Memorandum in Support of Motion for Summary Judgment for
        Additional Assured Coverage and Defense or Alternatively, Breach of Contract Damages (R.Vol.14,
        p.4122), admitted at December 2005 trial, pp.13-15, R.E. Tab J).

        FN59. Gregory v. Tennessee Gas Pipeline Co., 948 F.2d 203, 205 (5th Cir. 1991) (internal citations
        omitted).

        FN60. Snue Harbor. Ltd. v. Zurich Ins., 968 F.2d 538, 545 (5th Cir. 1992).

        FN61. Peavey, 971 F.2d at 1175.

        FN62. See Botley, No. 93-1640 at *11 (although no coverage under the policy was found to exist, duty
        to defend still applied up until the issuance of the court's ruling on coverage).

In response to Baker's arguments, Tidewater has taken the position that it was not required to obtain insurance
covering Baker's indemnity obligation, and that the insurance it did procure does not provide such coverage. In
                                                                                                [FN63]
doing so, it relies exclusively on this Court's holding in Landry v. Oceanic Contractors. Inc.,        and the fol-
lowing language of the Charter:

        FN63. 731 F.2d 299 (5th Cir. 1986).

The aforesaid policy shall include CHARTERER, in its capacity as time charterer of the vessel, as an additional
assured, but only with respect to the risks assumed by OWNER in this Charter . . . .”

Tidewater greatly misconstrues the Landry holding and application of the indemnity provisions, as is shown be-
low.

In Landry. Oceanic, employer of an injured seaman, entered into an agreement with Tidex, the vessel owner, re-
                                                                                   [FN64]
quiring Tidex to obtain P&I insurance naming Oceanic as an additional assured.              Coverage for Oceanic
under the Pental policy procured by Tidex was limited to “liabilities that may be imposed against the Named As-
                                                      [FN65]
sured [Tidex] by law in the absence of contract.”             This Court interpreted the quoted provision of the
policy to mean additional assureds were covered under the policy, but only for liability predicated on some legal
                                                         [FN66]
(not contractual) liability of Tidex, the named insured.

        FN64. Id. at 301-303.

        FN65. Id. at 304.

        FN66. Id.

Contrary to Tidewater's position, Landry, as a pure coverage decision, did not involve any issues of indemnity,




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                                                                                    [FN67]
or the interplay between insurance and indemnity, an dis therefore not applicable.          Nevertheless, even if
Landry were controlling, it would still establish Baker's entitlement to coverage for Tidewater's legal (tort) liab-
ility; exactly what the lower court has denied Baker.

        FN67. Underwriters have not to this point raised any defenses to coverage under their respective
        policies.

As set forth above, Klepac (supra) instructs that all insurance coverage is to apply regardless whether the con-
tract's language seems to restrict it to the parties' indemnity obligations. Further, Diamond (supra) instructs that
coverage is to apply regardless whether the indemnitor is entitled to appropriate coverage as an additional as-
sured. Baker submits that where indemnity and insurance are both at issue Klepac and Diamond, not Landry, are
controlling and demand exhaustion of Tidewater's policy limits before any indemnity obligation can be en-
forced.

Moreover, Tidewater drafted the Charter obligating itself to procure insurance “covering the liabilities of OWN-
ER [Tidewater]” but excluding “coverage for those risks, if any, assumed or insured by CHARTERER [Baker]
in this Charter.” (Emphasis added). (Charter Article XI). Tidewater further guaranteed the insurance it obtained
would provide Baker coverage as an additional assured in its capacity as time charterer of the vessel for the “
risks” Tidewater assumed under the contract.

Tidewater has urged that the above language was intended only to extend coverage to Baker for the indemnities
contractually assumed by Tidewater and to exclude coverage for the indemnities undertaken by Baker. However,
when Tidewater drafted Article XI, it used the words “liabilities” and “risks,” not “indemnities.” It must be pre-
                                                       [FN68]
sumed the use of different terms was for some purpose.

        FN68. Computalog U.S.A. Inc. v. Mallard Bay Drilling. Inc., 21 F.Supp.2d 620, 624 (E.D.La. 1998)
        (each provision of a contract must be given a meeting which renders it, along with all other provisions,
        effective rather than meaningless).

A review of the Charter reveals Baker and Tidewater both undertook risks separate and apart from Article
XTV's reciprocal indemnity provision. For example, in Article V, Baker agreed to protect, defend, indemnify
and hold harmless Tidewater from and against any violations of law or violations of the Coast Guard certificate
of inspection for the vessel resulting from Baker's well stimulation operations, including loading or unloading of
cargoes associated therewith. In Article VII, the operation, navigation and management of the vessel were desig-
nated to remain under the exclusive control of Tidewater, but with Baker having the right to designate the times
of vessel movement. If Baker insisted upon certain action or inaction by Tidewater, and the Master did so under
protest, Baker would have been solely responsible for all injuries or damages resulting therefrom.

These risk allegations are roughly parallel to the Charter's insurance requirements. The P&I policy to be ob-
tained by Tidewater responds to damages arising from the navigation and operation of the vessel, whether
caused by the Master or the time charterer. The exclusion of cargo liability coverage matches Baker's assump-
tion of risks associated with cargo-related damages. These are the “risks” referred to in the Article XI insurance
provision, not the indemnities set forth in Article XIV.

Plaintiffs injuries arose out of the risks expressly assumed by Tidewater under the Charter, operation, navigation
and management of the vessel. It's Captain's order for the Baker crew to disconnect the coflex hose from the rig,
which placed them directly in harm's way and subsequent intentional breaking of the starboard mooring line




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without warning them to stand clear of the area, were undeniably part of the operation, navigation and manage-
ment of the vessel, the “risks” Tidewater retained. Though Tidewater may now find it beneficial to argue that
“risks” and “indemnities” are one and the same, the fact remains they are different terms with different defini-
tions and usages in the Charter. As drafter of the agreement, Tidewater could have employed the same terms.
They chose not to and cannot now be permitted to rewrite their contract.

Furthermore, the Charter's insurance provision states the requisite policies “shall include CHARTERER, in its
capacity as time charterer of the vessel, as an additional assured, but only with respect to the risks assumed by
OWNER in this Charter....” (Emphasis added). Tidewater focuses on the last phrase in formulating its argument,
while ignoring the first.

Basic rules of contract interpretation require that effect be given to all provisions, such that the first part of the
                                            [FN69]
above-quoted provision cannot be ignored.            The provision's language unequivocally reveals Tidewater ob-
ligated itself to provide coverage to Baker in its capacity as time charterer. And since, in light of the Becker I de-
cision, Baker's liability (aside from LHWCA benefits) is now limited to its actions taken as time charterer of
Tidewater's vessel, the phrase is called squarely into play. The provision as a whole must be interpreted to re-
quire Tidewater's insurance to cover Baker's time charterer liability with respect to the risks assumed by Tidewa-
ter under the contract, i.e. operation, navigation and management of the vessel. Since Plaintiff's injuries arose
directly from these vessel risks, Tidewater's insurance must be exhausted before the indemnity provisions are
relevant.

         FN69. See Chembulk Trading LLC v. Chemex Ltd., 393 F.3d 550, 555 (5th Cir. 2004).

                 C. Indemnity Provision of Blanket Time Charter Agreement is Unenforceable

Notwithstanding the application first of Tidewater's insurance the facts presented in this case, and application of
the laws which they invoke, render the Charter's indemnity agreement unenforceable against Baker. Specifically,
it is prohibited by LHWCA Section 905(b) and vitiated both by Tidewater's breach of its duties under the
Charter and gross negligence.

                                               1. LHWCA § 905(b)

This Court has already held that Plaintiff was entitled to the status of longshoreman at the time of his injury.
[FN70]
        In light of that decision, the viability of the Charter's indemnity agreement was required to “be con-
                                                                                              [FN71]
sidered anew, consistent with the statutory scheme articulated in 33 U.S.C. § 905(b)-(c)....”

         FN70. Becker I, 335 F.3d at 392-393.

         FN71. Id.at 394, n. 11.

Section 905(b) of the LHWCA provides that a covered employer shall not be liable to a vessel or vessel owner,
directly or indirectly, for any damages recovered through its application, and further that “any agreements or
warranties to the contrary shall be void.” Subsection (c) of that Section includes an exception to this prohibition
by declaring:
Nothing contained in subsection (b) of this section shall preclude the enforcement according to its terms of any
reciprocal indemnity provision whereby the employer of a person entitled to receive benefits under this chapter
by virtue of section 1333 of Title 43 [the OSCLA] and the vessel agree to defend and indemnify the other for




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cost of defense and loss or liability for damages arising out of or resulting from death or bodily injury to their
employees.

These provisions combine to prohibit indemnity agreements between an LHWCA employer and a vessel owner,
in the vessel owner's favor, unless, among other things, the injured employee is entitled to receive LHWCA be-
nefits by virtue of Section 133 of the OSCLA. Here, however, the OSCLA is not applicable to the contract in
question. Therefore, Section 905(b)'s prohibition of the Charter's indemnity agreement must be enforced.
                                  [FN72]
In Hodgen v. Forest Oil Corp.,            this Court cited the Western District's opinion in Wagner v. McDermott.
      [FN73]                                                                                [FN74]
Inc.,        and praised it for its “heroic efforts to deal with the conflicting precedent”        in evaluating pri-
or Fifth Circuit case law involving the determination of the OCSLA's application. The district court in Wagner
identified that although some prior Fifth Circuit cases viewed the site of the accident as determinative of the
                       [FN75]                                                                             [FN76]
OCSLA's application,            under its decision in Union Texas Petroleum Corp. v. PLT Engineering.              in
cases involving a contractual dispute, the OCSLA's application was determined by the location where the sub-
                                                         [FN77]
stantial work was to be performed under the contract.             In Union Texas Petroleum Corp. v. PLT Engineer-
ing, this Court found the controversy arose on a situs covered by the OCSLA because “[t]he locations where the
                                                       [FN78]
substantial work was done were covered situses[.]”

         FN72. 87 F.3d 1512, 1524 (5th Cir. 1996).

         FN73. 899 F.Supp.1551, 1556 (W.D.La. l994), aff'd, 79 F.3d 20 (5th Cir. 1996).

         FN74. Id.

         FN75. See, e.g., Hollier v. Union Texas Petroleum Corp., 972 F.2d 662, 665 (5* Cir. 1992).

         FN76. 895 F.2d 1043 (5* Cir. 1990), cert. denied, 498 U.S. 848, 111 S.Ct. 136, 112 L.Ed.2d 103 (1990)
         .

         FN77. Id. at 1556.

         FN78. Id. at 1047.

In this case, the location where the substantial work was to be performed in compliance with the Charter, i.e.,
the REPUBLIC TIDE, was not a covered OCSLA situs since it was neither attached to nor erected upon the
seabed of the Outer Continental Shelf. Tidewater's claims against Baker involve a contractual dispute. Applying
PLT's analysis to the case at hand instructs that application of the OCSLA is not invoked under these facts.
Thus, Plaintiff is not entitled to LHWCA benefits by virtue of Section 1333 of the OCSLA, rendering effective
Section 905(b)'s prohibition of the Charter's indemnity agreement as it pertains to Baker. Tidewater's indemnity
claims must fail.

                          2. Tidewater's Breach of Blanket Time Charter Agreement

As set forth above, Article III of the Charter obligated Tidewater to use due diligence to provide a vessel:
. . . with clear decks and being on her delivery properly equipped and in every respect seaworthy and in good
running order and in every way fit and ready for CHARTERER'S use and for the employment intended...;
and OWNER undertakes to so maintain the vessel during the period of service under [the] Charter.




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Throughout the term hereof, OWNER shall maintain in full force and effect on the vessel any required United
States Coast Guard documents and Inspection Certificates, together with any other documents required of the
vessel. (Emphasis added).

(R. Vol. 14 p. 3931, R.E. Tab G). In addition, Article XXIV states “...this Charter shall be subject to all applic-
able laws, orders, rules, regulations, and requirements of any State or Federal Government or any agency there-
of.” The record reveals Tidewater clearly breached its duties under these provisions. As discussed below, guid-
ance by this Court indicates this breach operates to vitiate the indemnity agreement set forth in the Charter,
thereby relieving Baker from any liability it may have otherwise owed to Tidewater.

It has been firmly established that Tidewater sent the REPUBLIC TIDE out to the Cliff's Rig 153 with two mal-
functioning and defective pieces of critical equipment. Tidewater was aware the vessel's bow thruster was faulty,
and would have known that its anchor was likely to fail had it followed its own equipment-inspection procedures
mandated by the U.S. Coast Guard. The bow thruster and anchor were absolutely essential to Tidewater's prin-
ciple duty under the Charter, i.e., to provide a vessel that would hold its position for the duration of the work to
be performed at the rig.

Daniel Ray Sibley, a fluid engineer working aboard the Rig 153 at the time of the accident (Baker Trial Exhibit
13, p.12, admitted at December 2005 trial, p. 39-40), is the only disinterested, unbiased witness who testified
about the REPUBLIC TIDE's bow thruster problems being experienced before the Rig 153 job. Sibley was able
to confirm the testimony of other witnesses that the REPUBLIC TIDE reported bow thruster problems and re-
quested permission to anchor on arrival at the rig. (Id. at pp. 14-15, 46). Personnel aboard the rig told Captain
Givens to drop anchor toward the bow of the rig to avoid underwater pipelines located near its stern. (TT, pp.
773-774). The unreliable bow thruster failed and proved a major contributing cause of the accident.

The REPUBLIC TIDE arrived at the rig at approximately 3:00 a.m. on June 8, 1999. (TT, pp. 92-102). When
she arrived, Tidewater personnel requested that mooring lines be lowered so the vessel could tie off to the rig
from its port and starboard stern. (Id.). At approximately 3:30 a.m., the REPUBLIC TIDE'S attempt to anchor
was hindered due to an anchor windless hydraulic motor failure, reported as a leaking hydraulic seal. This hy-
draulic motor failure effectively disabled the vessel's ability to retrieve its anchor because she no longer had the
hydraulics to operate the windless. (Id.). Although the bow thruster was previously reported as having operation-
al difficulties, when the anchor failed, Captain Givens chose not to deploy the anchor, but rather to rely on the
bow thruster as the sole means of maintaining the vessel's position during operations (Id.).

Tidewater's breach of the Charter stems not only from this malfunctioning of its vessel, but also from its failure
to use due diligence to provide a vessel properly equipped and in every way fit for her intended employment. In
addition to beginning the gravel pack job with an unreliable bow thruster, Tidewater failed to properly inspect
the ultimately-inoperable anchor and anchor windless pursuant to the U.S. Coast Guard Streamlined Inspection
Program (“SIP”). The SIP is an alternative to traditional Coast Guard inspections, the primary goal of which is
                                                                          [FN79]
to maintain vessels in continued compliance with Coast Guard regulations.          The SIP permits participating
companies, such as Tidewater, to avoid a stringent annual Coast Guard inspection through a regimented program
of self-inspection.

        FN79. Guidance on the Streamline Inspection Program can be found at www.uscq,mil, attached as ex-
        hibit “H” to Baker's Motion for Summary Judgment against Tidewater and Underwriters seeking dis-




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        missal of their claims for defense and indemnity due to their breach of the Charter (R.Vol. 14, p. 3950),
        admitted into evidence at December 2005 trial, pp. 13-15; R.E. Tab I).

In implementing the program under Coast Guard guidelines, Tidewater adopted a requirement that the anchor
deck machinery, including the anchor windlass and wenches, be inspected in the first quarter (March) and third
quarter (September) of every year. (July 2001 Trial Exhibit (“TE”) P-22). Under Tidewater's anchor deck ma-
chinery inspection protocol, the company inspector must verify the pneumatic and hydraulic lines and connec-
tions of the anchor deck machinery are not leaking. (TE P-22).

The Tidewater inspection report for the quarter immediately proceeding the accident establishes the deck ma-
chinery, which includes the anchor windless and wenches, was not inspected. (TE P-17; TT, pp. 246-251). This
failure is a direct breach of Tidewater's obligation to use due diligence to provide a vessel properly equipped and
in every way fit for her intended purpose. It also constitutes a breach under Articles III and XXIV of the Charter,
which required Tidewater to maintain in full force and effect all required inspection certificates and to comply
with all applicable laws and regulations.

By enrolling in the SIP, Tidewater took it upon itself to properly inspect its vessels and ensure compliance with
Coast Guard regulations, much like the obligation it undertook under the Charter. If a vessel owner is permitted
to enroll in the SIP, a program that entrusts to the owner the obligation to ensure the safety of its vessels, know-
ing violations of SIP inspection obligations by that vessel owner should not be taken lightly. Tidewater's failure
to inspect the anchor deck machinery for the quarter prior to the underlying accident constitutes a material
breach of its inspection obligation and of the Charter, for which Tidewater must bear the consequences.

Moreover, Tidewater had actual evidence of a potential problem with the anchor windless hydraulics just one
month before the accident. REPUBLIC TIDE engineer Clarence Polk testified that he added 10 to 15 gallons of
hydraulic fluid in May 1999 while checking on the anchor windless (TT, p.1475). If anything, the considerable
volume of fluid added is evidence, not of two-month late SIP inspection, as Tidewater has sought to characterize
it, but rather establishes there was a problem with the windless hydraulics, one that a proper inspection of the
equipment should have uncovered. Polk dismissed the addition of such a volume of fluid as not suggestive of
any problem. (Id.). The fallacy in his reasoning is revealed by the leak that occurred when the REPUBLIC TIDE
unsuccessfully attempted to deploy her anchor.

By seeking defense and indemnity from Baker, Tidewater is attempting to enforce a contract that it first
breached. Its proposed interpretation of the Charter would completely read out of the contract Tidewater's bar-
gained-for obligation to provide and maintain a seaworthy vessel for Baker's well stimulation operations. An ob-
ligation that - if complied with - should have kept the risk of injuries at a reasonable level. Allowing Tidewater
to violate its contractual undertakings, thereby significantly increasing the likelihood and severity of injury, yet
enforcing the indemnity provision, conflicts with basic principles of maritime law relating to indemnity con-
tracts and cannot stand.
                                                                             [FN80]
In Marquette Transportation Co., Inc., v. Louisiana Machinery Co., Inc.,             this Court recognized that
                                                                                                [FN81]
breach of a contractual warranty may invalidate an indemnity agreement in the same contract.            In Mar-
quette, the owners, operators, and insurers of a destroyed vessel brought an action against shipyard defendants
who had previously performed the repair work on the vessel. The shipyard counter-claimed for attorneys' fees
and costs it incurred in defending the suit based on the repair agreements' indemnification provision, whereby
                                                                                 [FN82]
the vessel's owner agreed to defend, indemnify and hold harmless the shipyard.           This Court held the in-




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demnity provision valid and enforceable as the indemnitee had not breached its warranties, but added that the in-
demnity clause did not absolve the shipyard of its warranty duties under the contract and that if the shipyard had
been found in breach of those warranties, the Court's application of the indemnity clause would perhaps have
                [FN83]
been different.        Where, Tidewater did breach the warranties it owed under the Charter, the indemnities
provided therein cannot be enforced in Tidewater's favor.

        FN80. 367 F.3d 398 (5th Cir. 2004).

        FN81. Id. at 408.

        FN82. Id. at 401.

        FN83. Id. at 408.

Tidewater has dismissed this Court's statements in Marquette as mere dicta, and instead relied upon Fontenot v.
                      [FN84]
Mesa Petroleum Co.             in arguing that separate obligations relating to warranties do not void the indemnity
agreement. In Fontenot. this Court upheld an indemnity provision contained in a contract for the provision of a
drilling rig, despite allegations that the indemnitee breached its implied warranty of workmanlike performance
                    [FN85]
under the contract.          Tidewater's reliance on Fontenot, however, is fundamentally flawed. Tidewater's ob-
ligation to provide and maintain a seaworthy vessel fit to maintain position for extended periods was not merely
implied, as was the warranty breached in Fontenot, but rather was expressly set forth in the Charter. The parties,
in negotiating, bargaining for, and apportioning the various liabilities and advantages in the Charter, thought
Tidewater's duty to provide and maintain the REPUBLIC TIDE in a seaworthy condition important enough to
formalize it in Article III. Tidewater's assertion that the Charter should be read as though Article III simply does
not exist cannot withstand either the basic principles of maritime contract interpretation or this Court's reasoning
               [FN86]
in Marquette.

        FN84. 791 F.2d 1207 (5th Cir. 1986).

        FN85. Id. at 1218-1219.

        FN86. Baker further notes that in Landry v. Oceanic Contractors. Inc., 731 F.2d 299, 303-304 (5th Cir.
        1984), a case heavily relied upon by Tidewater as set forth above, Tidewater's predecessor, Tidex, ar-
        gued that its insurance obligation under a bareboat charter agreement was nullified by the charterer's
        breach of the charter - the exact same argument it now attempts to summarily dismiss - but was denied
        such relief due to its waiver of the argument.

Baker's position is further supported by the law applicable to maritime indemnity contracts. In Computalog
                                           [FN87]
U.S.A. Inc. v. Mallard Bay Drilling. Inc.,        the district court concisely reviewed the well-settled and axio-
matic concepts that govern maritime contract interpretation in this Circuit:

        FN87. 21 F.Supp.2d 620 (E.D.La. 1998).

A maritime contract must be interpreted according to the general rules of contract, construction and interpreta-
tion. Each provision of a contract must be read in light of others so as to give each the meaning reflected by the
contract as a whole. Finally, each provision of a contract must be given a meeting which renders it, along with
                                                         [FN88]
all other provisions, effective rather than meaningless.




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        FN88. Id. at 624 (internal citations omitted).

Tidewater's proposed interpretation of the Charter would render meaningless its express assumption in Article
III of the obligation to provide and maintain the REPUBLIC TIDE in a seaworthy condition. The only way to
give effect to this provision is to conclude that Tidewater must live up to its basic obligations to maintain the
vessel before it can take advantage of the indemnity language set forth in Article XIV. Otherwise, it would have
absolutely no incentive to live up to its bargained-for obligation to provide and maintain a seaworthy vessel, but
instead would remain comfortable in the knowledge that, regardless of the injury or damage caused by its breach
of that duty, it could seek defense and indemnity from Baker. To make matters worse, Tidewater's failure to
provide a seaworthy and properly functioning vessel greatly increased both the likelihood and severity of poten-
tial injury, thereby impermissibly enlarging the risk allocated to Baker under the indemnity agreement. Such an
absurd result cannot have been contemplated, would be against public policy, and Baker must now be dis-
charged from its purported liability under Article XIV.

Controlling precedent dictates that an act or omission by the indemnitee in breach of his duties under a contract
of indemnity that increases the risk or liability of the indemnitor, or otherwise injures the rights or remedies of
the indemnitor, discharges the indemnitor from his liability under the indemnity contract, at least to the extent of
                   [FN89]
the injury caused.          This principle was discussed in General Insurance Company of America v. Fleeger.
[FN90]
        In Fleeger, the insurance company and insurer of bonds covering certain contractors, sought indemnity
for amounts paid on the bonds against the indemnitor, a construction company. Prior to the signing of each in-
demnity agreement, an agent for the insurance company represented to the construction company that each con-
tractor had been checked out, reviewed and found to be competent. However, evidence presented at trial re-
vealed the insurance company had noticed that the contractors were in default, but nevertheless, continued to is-
sue bonds for them. The court acknowledged this action increased the risks to the construction company and pre-
                                                      [FN91]
judiced their rights under the indemnity agreement.

        FN89. Hierm v. St. Paul-Mercury Indemnity Co., 262 F.2d 526, 528 (5th Cir. 1959); General Ins. Co. of
        America v. Fleecer. 389 F.2d 159, 161, n.3 (5th Cir. 1968); Denton v. Fireman's Fund Indemnity Co.,
        352 F.2d 95, 96, 99. (10th Cir. 1965); American Cas. Co. of Redding, Pennsylvania v. Idaho First Nat'l
        Bank, 328 F.2d 138, 142-143 (9th Cir. 1954); Hudson v. Forest Oil Corp., 2003 WL 21276385, *4
        (E.D.LA.2003).

        FN90. 389 F.2d 159 (5th Cir. 1968).

        FN91. Id. at 160-161.

This Court affirmed the trial court's findings that the insurance company had made false representations regard-
ing the competency of the contractors, that the construction company relied upon these representations, and that
                                                  [FN92]
the representations were a material inducement.            The construction company was released from three in-
                     [FN93]
demnity agreements.          Relying on precedent, this Court noted “it is equally well settled that an act on the
part of an indemnitee which materially increases the risks or prejudices the right of the indemnitor will dis-
                                                                                       [FN94]
charge the indemnitor to the extent that he has been damaged as a result of that act.”

        FN92. Id. at 161.

        FN93. There was a fourth indemnity agreement discussed as to that one, there was no evidence of ma-
        terial inducement.




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        FN94. Id. at 161, n. 3; citing, Hiern, 262 F.2d 526.

Well stimulation operations require the chartered vessel to remain stationary along side the rig for an extended
period of time. Tidewater knew the REPUBLIC TIDE would need to be maintained in a stationary position
alongside the Cliffs Rig 153 for 12 to 18 hours. (TT, pp. 137-138, 251). Captain Givens notified the rig that he
did not trust the vessel's bow thruster to perform properly. (TT, p. 773). By failing to follow its own protocols
and conduct the necessary inspections of the anchor and anchor windless, knowing full well of the need for the
anchor to work properly, Tidewater greatly increased the scope and severity of the risk, and enlarged the poten-
tial liability of Baker under the indemnity agreement, changing the terms of the contract without Baker's con-
sent. As such, Tidewater's breach of contract should be recognized as discharging Baker from any liability under
Article XIV of the Charter.

                                        3. Tidewater's Gross Negligence

Based upon the definitions and parameters assigned to the meaning of “gross negligence” by courts, it is without
question that Tidewater's actions in causing Paintiff's injuries, when taken as a whole, rise to the level of gross
negligence. Consider the following:
• Tidewater Captain Daniel Givens misled the crew of the Cliffs Rig 153 into believing that the REPUBLIC
TIDE would be anchored during the 12-18 hour gravel pack job;
• Although it had given him trouble earlier, Captain Givens chose to rely on the bow thruster to maintain posi-
tion for the 12-18 hour gravel pack job;
• After the unanchored REPUBLIC TIDE's faulty bow thruster not surprisingly failed, Tidewater Captain Steven
Lachney sent Plaintiff and his co-workers to disconnect the coflex hose on the rig.
• Captain Lachney knew that powering up the vessel to break the stern line would also violently pull on the
coflex hose, causing it to move across the deck and endangering the men working in the area of the hose;
• Despite his actual knowledge of the danger presented by his intended course of action, Captain Lachney
powered up the REPUBLIC TIDE and violently pulled the hose taut, without telling anyone what he was doing
or warning of the danger he knew his actions would create, as a result of which Plaintiffs legs were severed.

These actions exhibit a course of conduct revealing a complete and utter disregard for safety of others and a con-
scious and reckless indifference to the consequences of their actions. If Captain Lachney's conduct in instructing
Plaintiff to work on the very hose he then moved violently across the deck, with full knowledge of his proxim-
ity, is not grossly negligent conduct, it is difficult to envision what ever might suffice. Indeed, Tidewater was
guilty gross negligence. The Charter's indemnity agreement did not extend to such conduct (see Charter Article
XIV), and Tidewater is thus answerable for its own fault.

In Becker I. this Court expressly required determination of the defendants' potential gross negligence at the retri-
                   [FN95]
al of this matter.         This issue arose during the first appeal with regard to Baker's argument that because
gross negligence was not expressly included within the scope of the Charter's indemnity provision, Baker could
not be required to indemnify Tidewater for Tidewater's own gross negligence. This Court's directive to the dis-
trict court to consider “proof of gross negligence” was an acknowledgment that Tidewater's gross negligence, if
                                                                                       [FN96]
found, would vitiate Baker's indemnity obligations under the language of the Charter.

        FN95. Becker I, 335 F.3d at 393-394, n.11.

        FN96. Its reasoning is supported by the well-settled rule that indemnity for gross negligence will not be
        enforced unless it is expressly set forth in the indemnity agreement at issue. Todd's Shipyard Corp. v.




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         Turbine Service. Inc., 674 F.2d 401, 411 (5th Cir. 1982); Royal Ins. Co. of Am, v. Southwest Marine,
         194 F.3d 1009, 1015-1016 (9th Cir. 1999); Daughdrill v Ocean Drilling & Exploration Co., 665
         F.Supp.477, 481-482 (E.D.La. 1987); La Esperanza De P.R., Inc. v. Perez Y Cia. De Puerto Rico. Inc.,
         124 F.3d 10, 19 (1st Cir. 1997); In the matter of T.T. Boat Corp., 1999 WL 1442054 (E.D.La.1999); In
         matter of Torch. Inc., 1996 WL 185765 (E.D.La. 1996).

Though often discussed, “gross negligence” has not been easily defined. Most recently, this Court in The Hous-
                                                          [FN97]
ton Exploration Co. v. Halliburton Energy Services, Inc.,        cited approvingly to a series of definitions set-
ting forth the nature - and parameters of the concept:

         FN97. 269 F.3d 528 (5th Cir. 2001).

Other courts have defined gross negligence as the “entire absence of care,” the “want of even slight care and di-
ligence,” and the “other disregard of the dictates of prudence, amounting to complete neglect of the rights of
other.” At least one Louisiana court stated that one is grossly negligent when he “has intentionally done and act
of unreasonable character in reckless disregard of the risk known to him, or so obvious that he must be taken to
have been aware of it, and so great as to make highly probable that harm would follow.” Mere advertence or
                                                      [FN98]
honest mistake does not amount to gross negligence.

         FN98. Id- at 532 (internal footnotes and citations omitted).

Under these definitions, gross negligence is not just a breach of the standard of care, but rather a lack of care all
together. Just as important, the grossly negligent actor proceeds despite the understanding that potentially griev-
ous injury is likely to result from his actions. Taken together, the definitions cited by this Court are strikingly
similar to the terms used at trial by Captain Ronald Campana to describe Tidewater's actions in this case: the
failure to do even “the very minimum [one] could have done,” such that one's conduct amounts “the highest
                                                                 [FN99]
form of disregard for the standards of the trade.” (TT, p. 894.)

         FN99. Captain Campana's testimony was accepted as a proffer only during the original trial of this case,
         but later admitted into evidence as the December 12, 2005 retrial as Baker Exhibit 15. (December 2005
         trial transcript, p.40).

The evidence of Tidewater's gross negligence is as clear and uncontradicted as it is shocking. Captain Campana,
Plaintiff's vessel operations expert, was the first to use the phrase “grossly negligent” in this case, when he de-
scribed the Tidewater captains' failure to inform the rig that the vessel would not be anchored, despite their earli-
er assurances that it would be. When asked what he meant when he described this omission as “grossly negli-
gent,” Captain Campana responded as follows:
I mean it was -- in degrees of negligence, it was the highest type of negligence in the performance of his duties
in not telling the rig he wasn't anchored. You have little negligence and you have a lot of negligence, I appreci-
ate that, but from our terms as a seaman, the very minimum he could have done was tell the rig he wasn't
anchored. The fact that he didn't do it was the highest form of disregard for the standards of the trade.

(TT, p. 894). Captain Campana's characterization of Captain Given's failure to advise the rig he would not be
anchored is no different from this Court's most recent clarification of what “gross negligence” means. Given's
failure to notify the rig that his vessel was unanchored and potentially at the mercy of the current was a failure to
do “the very minimum he could have done,” is tantamount to an “ ‘entire absence of care’ [or] the ‘want of even
                                 [FN100]
slight care and diligence [.]’ ”




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         FN100. Houston Exploration, 269 F.3d at 532. quoting Hendry Corp. v. Aircraft Rescue Vessels, 113
         F.Supp. 198, 201 (E.D.La 1953), and State v. Vinzant, 200 La. 301, 315, 7 So.2d 917, 922 (1942).

Earlier in his testimony, Captain Campana related: “I would not say [Givens] deviated from the standards [of
good seamanship], I would say he never achieved the standards. He was well below the standards.” (TT, p.
888-889). This analysis of Captain Given's failure to keep the rig informed goes to the very heart of what this
Court has concluded “gross negligence” means. His failure to advise the rig that he was not anchored was not
“mere advertence” or an “honest mistake,” but instead was an act “intentionally done in reckless disregard of the
                       [FN101]
risk known to him [.]”

         FN101. Houston Exploration. 269 F.3d at 532, quoting Cates v. Beauregard Electric Co.-Op., Inc., 316
         So.2d 907, 916 (La.App.3d Cir. 1975), aff'd, 328 So.2d 367 (La.1976).

Not to be outdone, Tidewater Captain Steven Lachney was also grossly negligent in directly causing Plaintiff's
injuries. Captain Lachney knew when he powered up the REPUBLIC TIDE that he was exposing Plaintiff and
the other Baker hands to tremendous danger, yet he proceeded in the face of that knowledge without warning
anyone. His conduct fits almost precisely with the most exacting of the gross negligence definitions cited by this
Court, describing the grossly negligent actor as one who
has intentionally done an act of unreasonable character in reckless disregard of the risk known to him, or so ob-
vious that he must be taken to have been aware of it, and so great as to make it highly probable that harm would
        [FN102]
follow.          Nothing can better describe Captain Lachney's appreciation for the utter


         FN102. Id. at 532.

disregard of the risk his actions presented than his own words offered under examination by Plaintiff's counsel:
Q. It was clear to you a hose just like this one right here, this coflex steel hose, that's what went over the rail up
on the M/V REPUBLIC TIDE from your boat?
A. Correct, sir.
Q. You're in that dog house aware that big steel cable goes up in the air and over the rail on the Cliff's 153 and
your bow thruster goes down right?
A. Correct. [TT, p. 254].

                                                        ***

Q. Did you ever call Baker and say, I'm getting ready to power up my engines?
A. No, I did not call them and say, I'm ready to power up my engines. I did call him and tell him we could not
do anything, to get rid of the hose at that time. And that they are going to have do something up there on the rig.
That was my last and final call to the rig. [TT, p. 265].

                                                        ***

Q. You pulled on that rope?
A. I did pull on that rope.
Q. You did it intentionally?
A. I did pull on that rope intentionally.
Q. And prior to pulling on that rope intentionally, you never called the rig or the Baker hands up on that rig and




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told any of them you were getting ready to pull on that rope intentionally; is that true, sir?
A. That is true. [TT, p. 266].

                                                        ***

Q. In fact, at some point your boat did pull on the coflex hose, right?
A. At some point it did.
Q. Three feet of movement, just three of feet of movement with your boat will cause the coflex hose to move a
lot up on that rig deck, right?
A. Correct.
Q. And you knew that before you powered up and popped that, right?
A. Correct. [TT, p.311].

In summary, Captain Lachney told the Baker hands to go disconnect the hose, then moments later powered up
his vessel without bothering to warn the men he had just sent into harm's way of the danger they were in. Again,
this is not a case of “mere inadvertence” or “honest mistake,” but instead was a situation in which the actor fully
appreciated the likely harm his action could cause and proceeded nonetheless.

Whether taken individually or collectively, Tidewater's actions were grossly negligent under even the most strin-
gent of definitions set forth in Houston Exploration. Therefore, Tidewater's claims against Baker must fail as its
gross negligence goes beyond the bounds of the Charter's indemnity agreement.

    D. In the Alternative, the Indemnity Obligation under Blanket Time Charter Agreement is Limited to
                                        Plaintiffs General Damages,

Notwithstanding its arguments to the contrary, if the Charter's indemnity provision is upheld, and Tidewater and
Underwriters are provided relief thereunder, Baker's obligation would be limited to the amount of the judgment
reflecting Plaintiff's general damages only. This limitation is based upon the Charter's express terms, which spe-
cifically exclude any obligation on the part of Baker to defend, indemnify or hold harmless Tidewater or Under-
writers from and against any claims for punitive, indirect, incidental, special or consequential damages of any
kind or nature, or interest thereon.
                                                  [FN103]
Indemnity contracts are to be strictly construed,          requiring one to look to what is clearly and unequivoc-
                                         [FN104]
ally expressed when interpreting same.             In doing so, indemnity agreements should be read as a whole
                                                                                                  [FN105]
and the words utilized should be given their plain meaning unless the provision is ambiguous.              A court
should not look beyond the written language of the contract to determine the intent of the parties unless the dis-
                              [FN106]
puted language is ambiguous.            Where ambiguity is found, the language is to be construed strictly against
                                      [FN107]
the party who drafted the agreement.

         FN103. Randall v. Chevron U.S.A. Inc., 13 F.3d 888, 906 (5th Cir. 1994), overruled on other grounds
         by Bienvenu v. Texaco. Inc., 164 F.3d 901 (5th Cir. 1999); Cargill Fertilizer. Inc. v. PEARL JAHN O/B,
         190 F.Supp.2d 894, 900 (E.D.La. 2002); Smith v. Tenaco Oil Co., Inc., 803 F.2d 1386, 1388 (5* Cir.
         1986).

         FN104. Theriot v. Bay Drilling Corp., 783 F.2d 527, 540 (5th Cir. 1986); Corbitt v. Diamond M.
         Drilling Co., 654 F.2d 329, 333 (5th Cir. 1981); In the matter of TT Boat Corp., 1999 WL 1442054, *6
         (E.D.La. 1999) (internal citations omitted); Orduna S.A. v. Zen-Noh Grain Corp., 913 F.2d 1149, 1153




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         (5th Cir. 1990) (internal citations omitted); Cargill Fertilizer, 190 F.Supp.2d at 899-900; Walter Oil &
         Gas Corp. v. Safeguard Disposal Systems. Inc., 961 F.Supp. 931, 933-934 (E.D.La. 1996).

         FN105. Ingalls Ship Building v. Federal Ins. Co., 410 F.3d 214, 2005 WL 1168414, *3 (5th Cir. 2005);
         Walter Oil. 961 F.Supp. at 933-934 (internal citations omitted); Lirette v. Popich Bros. Water Trans-
         port. Inc., 699 F.2d 725, 728 (5th Cir. 1983); Ogea, 622 F.2d at 189; Corbitt, 654 F.2d at 332.

         FN106. Cargill, 190 F.Supp.2d at 900 (internal citations omitted); Corbitt, 654 F.2d at 332-333; Hicks
         v. Ocean Drilling & Exploration Co., 512 F.2d 817, 825 (5th Cir. 1975); cert. denied, H.B. Buster
         Hughes, Inc., v. Ocean Drilling & Exploration Co., 423 U.S. 1050, 96 S.Ct. 777, 46 L.Ed.2d 639 (1976)
         .

         FN107. Ford v. NYLCare Healthplans of the Gulfcoast, Inc., 141 F.3d 243, 249-250 (5th Cir. 1998);
         Mott v. ODECO, 577 F.2d 273, 278 (5* Cir. 1978); Zapata Marine Service v. O/Y Finnlines. Ltd, 571
         F.2d 208, 209 (5th Cir. 1978).

Furthermore, an indemnity provision must be construed so as to cover only losses, damages and liabilities that
reasonably appear to have been contemplated by the parties, and it is inappropriate to impose liability for any
losses or liabilities that are not expressly stated within the terms of the agreement or of such a character that it
                                                                                           [FN108]
could reasonably be inferred they were intended to be included in the indemnity contract.

         FN108. Corbitt,654 F.2d at 333.

A review of the Charter demonstrates that when Tidewater drafted the Charter, it placed the respective indem-
nity obligations of the parties addressing property-related damages in Article XIII, and personal injury-related
damages in Article XIV. After setting forth the personal injury-related indemnity obligations, Tidewater in-
cluded a third paragraph of Article XIV, which reads in pertinent part:
Notwithstanding anything to the contrary contained herein, it is expressly agreed by and between the parties
hereto that, regardless of the negligence on the part of any party hereto or the unseaworthiness of any vessel,
neither such party shall be liable to the other for any punitive, indirect, incidental, special or consequential
damages of any kind or nature (including, but not limited to, loss of profits, loss of use, loss of hire, and loss of
production); and each party hereby agrees to waive its right of recourse in this regard against the other party.
(Emphasis added).

The language emphasized above leaves no doubt that the parties excepted the excluded damages from any in-
demnity obligations in Article XIV and waived recourse against each other as to same.

This is bolstered by application of the above-referenced rules of construction for maritime indemnity agree-
ments. When asking: (1) is the language clear and unequivocal, and (2) is the third paragraph of Article XIV un-
ambiguous, when taking into account the plain meaning of the words and reading the Charter as a whole? Baker
submits the answer to both questions is clearly, “yes.”

Tidewater has argued, and the district court has agreed, that the Charter's provision waiving special damages
simply means the parties agreed not to be liable to each other for such damages, but that damages of third parties
are excepted from this exclusion. (R.Vol. 17, p. 4814; R.E. Tab E.3). This interpretation is illogical, however,
considering the exclusionary language in the Charter's Article XIV addressing personal injury indemnity. If the
parties had intended to except third party liability from this exclusion, Article XIV would be the most inappro-




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priate place to include this language.

In expressing its purpose for including Article XIV's third paragraph, it was incumbent upon Tidewater as
drafter to do so in clear and unequivocal terms. It is Baker's position that, as written, the Charter's indemnity ob-
ligations clearly and unequivocally do not extend to the excluded damages, and that the parties clearly and un-
equivocally waived recourse against each other for such claims. While Baker believes the language could hardly
have been more clear, any perceived ambiguity would have to be strongly and strictly construed against the
drafter of the document, in this case Tidewater, and against those whose rights derive from the rights of the
drafter, Underwriters. Indeed, if the Charter is ambiguous, Tidewater and Underwriters cannot now claim the be-
                                                                                                     [FN109]
nefit of the doubt, but rather it is Baker who must be protected from an unintended, unfair result.

         FN109. See Ford, 141 F.3d at 241-250.

Tidewater has asserted an additional challenge to the exclusion by claiming the breadth of the Charter's indem-
nity provision, applying to “any liability” and “all claims, and/or damages” usurps application of the exclusion
of damages covered provided in Article XIV's third paragraph. Its reasoning is obviously flawed, however, be-
cause it ignores the absolute introductory language, “[n]otwithstanding anything to the contrary,” of the waiver
provision. Use of this phrase clause indicates the parties contemplated the possibility that other parts of the con-
tract may conflict with the pertinent provision, and so agreed the provision must be given effect regardless of
                                                      [FN110]
any contradictory language included in the contract.            As a result, the provision modifies all obligations
under the Charter Agreement, especially those set forth in the very same section of the contract in which it ap-
pears (Article XIV).

         FN110. Helmerich & Payne Int'l Drilling Co. v. Swift Energy Co., 180 S.W.3d 635 (Tex.App.-Houston,
         October 11, 2005), citing, Cleere Drilling Co. v. Dominian Explor. & Prod., Inc., 351 F.3d 642, 649, n.
         13 (5th Cir. 2003).

Finally, with respect to Tidewater's claim for attorneys' fees, costs and expenses, not only in defending against
Plaintiff's claims, but also in prosecuting its. third party complaint and cross claim, this too is an area where
Tidewater greatly over estimates the scope of Article XIV's indemnity provision and is simply wrong.
                                   [FN111]
In Weathersby v. Conoco Oil Co.,             this Court specifically rejected a claim by an indemnitee for recovery
of attorneys' fees and costs incurred in establishing its right to indemnification, even though indemnification was
owed. The Court rejected the argument that cases standing for the proposition that attorneys' fees and costs in-
curred in the defending against the main demand are recoverable by an indemnitee also support the recovery of
attorneys' fees and costs incurred in establishing one's right to indemnification under an indemnity agreement,
                                                                             [FN112]
characterizing the rejected argument as a misapprehension of the law.                 Weathersby has been followed
                                         [FN113]
uniformly by the courts of this Circuit.           It is clear then that no recovery of any costs of pursuing defense
and indemnity can be recovered by Tidewater or Underwriters. The lower court's ruling to the contrary must be
reversed as a clear error of law.

         FN111. 752 F.2d 953 (5th Cir. 1984).

         FN112. Id. (internal citations omitted).

         FN113. See, e.g., Dow Chem. Co. v. M/V Roberta Tabor, 815 F.2d 1037, 1046 (5th Cir. 1987); Brown
         v. Sea Mar Mgmt., LLC, 2006 WL 3328194, *4 (W.D.La. 2006); Baza v. Chevron Oil Service Co., 1996




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         WL 711506, *5 (E.D.La. 1996); Theriot v. A.S.W. Well Service. Inc., 1990 WL 158990, *3 (E.D.La.
         1990); Badeaux v. Torch. Inc., 1989 WL 140227, *2 (E.D.La. 1989); Daughdrill v. Ocean Drilling &
         Exploration Co., 702 F.Supp. 1267, 1268 (E.D.La. 1988).

                                      E. All Baker Fault is Employer Fault
                                                                  [FN114]
An LHWCA employer is immune from suit in tort by his employee.             While it is possible for an employer
who is also the charterer of a vessel to be liable to his employee for “vessel negligence” under 33. U.S.C. §
905(b), “an employer is not liable for any negligence, but ‘only for negligence in its [charterer] capacity.’ ”
[FN115]

         FN114. 33 U.S.C. § 905(a).

         FN115. White v. Cooper/T. Smith Corp., 690 F.Supp. 534, 538 (E.D.La. 1988) (emphasis in original)
         (internal footnotes and citations omitted).

Where an employer is also the time charterer of a vessel, there must be a strict delineation between the employ-
er's role as employer and its role as time charterer, and of the duties owed to the plaintiff-employee in each capa-
city. “When the defendant is both the time charterer and the employer [the LHWCA] only subjects the defendant
to negligence liability in its capacity as a time charterer.... The two duties are separately owed and do not affect
              [FN116]
each other.”           That is “the duties and responsibilities against which the claim of the defendant's negli-
gence must be measured are necessarily limited to those which arise out of and are founded on the relationship
                                                                               [FN117]
which the time-charterer establishes between the defendant and the vessel.”

         FN116. Moore v. Phillips Petroleum Co., 912 F.2d 789, 791 (5th Cir. 1990) (internal citations omitted).

         FN117. Kerr-McGee Corp. v. Ma-Ju Marine Service. Inc., 830 F.2d 1332, 1339 (5th Cir. 1987).

When considering the duties Baker owed to Plaintiff as time charterer, it must be remembered that a time charter
is a contract whereby “the charterer engages for a fixed period of time a vessel, which remains manned and nav-
                                                                                 [FN118]
igated by the vessel owner, to carry cargo whereever the charterer instructs[.]”          The time charter's role is
limited to directing the commercial activity of the vessel, determining the ship's routes, destinations, timing of
                                           [FN119]
the mission, and the designation of cargo.          “[A] time charterer cannot be liable under [LHWCA §905(b)]
unless it is negligent, and it is a fundamental precept of tort law that there can be no negligence unless there is
               [FN120]
first a duty.”

         FN118. Neissho-Iwai Co., Ltd. v. M/V Stolt Lion, 617 F.2d 907, 911 (2nd Cir. 1980).

         FN119. Kerr-McGee, 830 F.2d at 1340-1341.

         FN120. Id. at 1340.

As this Court has described, a time charterer has responsibilities and can be held liable under Section 905(b), but
the scope of that potential liability is decidedly limited:
Certainly the time-charterer has some responsibilities. It designates the cargo that the chartered vessel will carry,
and if, for example, it carelessly chooses an unsafe combination of cargo to share the same hold, it could be li-
able for resulting damages. The time-charterer directs where and when the vessel will travel, so if it forces it out
in hurricane weather or similarly treacherous conditions, it may be liable under [§905(b)]. But its duties are de-




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                                       [FN121]
termined by tradition and agreement.


         FN121. Id. at 1341 (internal citations omitted).

Nor does a time charterer have any duty to supervise the loading or unloading of cargo, or to warn of open and
                 [FN122]
obvious dangers.

         FN122. Dahlen v. Gulf Crews, Inc., 281 F.3d 487, 496-497 (5th Cir. 2002).

A time charterer's duties to an LHWCA worker are far narrower in scope than those owed by the vessel owner or
owner pro hac vice. That is, for Baker's fault to be upheld in this matter, the record must have demonstrated
proof of time charterer vessel negligence rather than general vessel negligence, a much more limited inquiry.

The Charter itself sets forth Baker's duties as time charterer in this case. It reveals Baker's role in its relationship
with Tidewater was in line with a time charterer's role as it has been described by this Court. Under the Charter,
Baker had the right to charter Tidewater vessels for use in well stimulation operations. (Charter Article I, II).
Tidewater agreed to deliver and maintain a seaworthy vessel (Charter Article III), and remained responsible for
manning, supplying, maintaining, operating, navigating, and managing the vessel. (Charter Article VI, VII).
Baker remained responsible for various fees and assessments. (Charter Article X). The purpose of the Charter is
explicitly identified as “the lawful movement of materials and personnel incidental to CHARTERER'S opera-
tions...in the inshore and offshore waters of the Gulf of Mexico.” (Charter Article V). Finally, Baker was given
the right to “install additional equipment in connection with its operation,” with the proviso that all such equip-
ment was to remain Baker's property. (Charter Article VIII).

Contrast these duties with those of the LHWCA employer. Because the LHWCA is a no-fault compensation
scheme, there is limited discussion in either the Act itself or the jurisprudence of the duties that an LHWCA em-
ployer owes to its longshoreman. What is clear, however, is that the duty to provide the longshoreman with a
safe place to work is within the purview of employer responsibility. As this court observed in Kerr-McGee, such
a duty is
... subsumed within [the longshoreman's] workers' compensation rights under the LHWCA .... [T]o impose on
[the time charterer] such a non-deligable duty, even though “cast in terms of negligence” would have much the
                                                                                       [FN123]
same result as making it liable in a capacity other than its capacity as time charter.


         FN123. 830 F.2d at 1342.
                                                         [FN124]                      [FN125]
Likewise there is no question that the duties to train             and to supervise             a maritime worker arise
out of employer responsibility.

         FN124. Gautreaux v. Scurlock Marine. Inc., 84 F.3d 776 (5th Cir. 1996), rev'd on other grounds.

         FN125. Weber v. Azalea Fleet. Inc., 2005 WL 711608 (E.D.La.2005).

The district court found Baker negligent as time charterer for its role in the installation and maintenance of its
equipment aboard the REPUBLIC TIDE. Specifically, the court found fault with Baker in its installation and
maintenance of the coflex reel system and an iron sleeve through which the hose ran from the vessel to the rig,
referred to as the “blue shoe.” (R.Vol. 18, pp.5444-5447, R.E.Tab C). The court also imputed Baker with time




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charterer fault for failing to properly train and instruct its employees on how the coflex reel system operated. Fi-
nally, the court found Baker guilty of time charterer fault as “direct[or] [of] the commercial activities of the ves-
sel and as the party responsible for well stimulations under the Charter[.]” (Id. at p.5444). Contrary to the court's
findings, Baker submits its alleged negligence in contributing to this accident relates entirely to its role as
Plaintiff's employer.

Large portions of the record contain discussion of Baker's alleged role in the design and construction of the
coflex hose reel assembly. In particular, Plaintiff's expert, Steve Killingsworth, essentially argued Baker was the
de facto “manufacturer” of the reel assembly system. This allegation reveals Plaintiff's claims against Baker as
“manufacturer” are tantamount to a strict products liability claim. While this type of claim may be entertained
when considering a Jones Act employer's liability, such alleged fault cannot be ascribed to Baker in this. case for
- two reasons: first, Section 905(a) of the LHWCA provides a longshoreman's exclusive means of recovery
against bis employer in that capacity, thereby precluding a strict products liability claim; and second, this Court
has already determined that the negligence action allowed to injured longshoremen under § 905(b) does not in-
                                                                                          [FN126]
clude a claim for strict liability, which would include strict products liability claims.

         FN126. Hess v. Upper Mississippi Towing Com., 559 F.2d 1030 (5th Cir. 1977).

Moreover, Baker cannot be held liable in tort to Plaintiff for any alleged failure to provide proper equipment for
the performance of his duties or for the manner in which Baker performed its well stimulation activities. Though
the coflex hose unit was “installed” on the back of the vessel, the unit remained Baker's property, and thus,
amounted to no more than Baker's tools for performing its well-stimulation operations. It must be remembered
that Baker was not a co-owner of the REPUBLIC TIDE. Rather, as time charterer, it was simply entitled to dir-
ect where the vessel was to travel to perform the services which Baker provides. The coflex hose unit was
simply one of the tools Baker provided to its own employees to aid in the completion of its services.

An analysis of Baker's actions in light of the distinction this Court requires to be drawn between “employer” and
“vessel” fault can lead only to the conclusion that Baker's provision and maintenance of equipment used in well
stimulation operations must fall within the realm of employer fault. As the Second Circuit has put it, “the key is-
sue is whether [the charterer's] employees who were at fault committed their negligent acts in their capacity as
                                        [FN127]
agents of the vessel...or employees[.]            Any deficiencies or failures in the use or maintenance of the
coflex hose reel assembly, the “blue shoe,” or any other Baker equipment pertained to Baker's well-stimulation
operations, and thus, its employer responsibility, rather than its role as time charterer. The same even more com-
pellingly holds true for any deficiencies of Baker in properly training and instructing its employees in the use of
well stimulation equipment.

         FN127. Gravatt v. City of New York. 226 F.3d 108, 125 (2nd Cir. 2000).
                                                                                                           [FN128]
A case from the Louisiana First Circuit Court of Appeal is instructive on this issue. In Daggs v. Martin,
a longshoreman claimed damages for alleged injury sustained while building an oil platform from the deck of
his employer's spud barge, suing his employer under Section 905(b). The employer acted in a dual capacity as
both the barge owner and as the plaintiff's employer. The injury occurred when the plaintiffs supervisor, step-
ping from the barge to the deck of the platform, accidently struck the plaintiff with pipe jack. The court analyzed
the employer's allegedly negligent conduct to determine whether the conduct was performed in the course of the
operation of the owner's vessel as a vessel, or whether the conduct was performed in furtherance of the employ-
                               [FN129]
er's harbor worker operations.




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         FN128. 2002-1799 (La.App.lst Cir. 6/27/03), 851 So.2d 1190, writ denied, 2003-2636 (La.12/12/03),
         860 So.2d 1158.

         FN129. Id. at 1192.

Affirming the district court, the Louisiana First Circuit concluded the employer
was negligent in its capacity as an employer, not in its capacity as a vessel owner. The task of the barge was to
transport materials to the job site. The task of the construction crew was to construct the platform; this task in-
cluded transporting the pipe jack from the barge to the platform. The performance of the construction work was
                                                [FN130]
separate and apart from the work of the vessel.


         FN130. Id. at 1193.

Daggs is highly relevant to this case. All of Baker's alleged fault in the accident related directly to its well-
stimulation activities, not to its role as a time charterer of the vessel. In particular, the equipment used in the per-
formance of the well-stimulation activities had no relation to Baker's rights and duties as time charterer, i.e., car-
rying of cargo and control of when and where the vessel was to sail. Just as in Daggs. the vessel here provided a
transportation function for the Baker workers and equipment, whose activities and responsibilities were focused
on the well and had no relation to navigation or vessel operations. As the employer in Daggs actually owned the
vessel, opening it to far more expansive liability than Baker might face here in the decidedly more limited role
of time charterer, to hold Baker liable as a §905(b) “vessel” in this case would open liability to “vessel fault” to
every time charterer who places any men or equipment on a chartered vessel.

This is not to say that there are no circumstances under which a time charter might be liable to his longshore em-
ployee who is aboard the chartered vessel. Consider, for example, a situation in which Plaintiff hypothetically
had sustained injuries while at sea or at a job site because Baker had ordered the vessel to use undue haste in
rushing from one job to another or demanded, over a captain's protest, that the vessel proceed to the next job in
the face of unsafe weather. Either instance would implicate Baker's time charterer fault, i.e., fault in its capacity
as the entity with the authority to direct when and where the REPUBLIC TIDE sailed. But the propriety of
Baker's equipment and methods for performing its well-stimulation work are so plainly within the purview of
Baker's employer responsibility that they clearly should not have been considered for purposes of assessing fault
to Baker in this case.

For the reasons set forth above, and explained in Kerr-McGee and Daggs, Baker, as time charterer, cannot be
held liable for its failure to provide Plaintiff with adequate training or a safe place to work. To hold otherwise
would effectively eviscerate the tort immunity provided by §905(a).

With Baker's fault arising from its employer capacity only, which is protected from liability under LHWCA
                                                                        [FN131]
§905(a), Tidewater must be held liable for 100% of Plaintiff's damages.

         FN131. In re ADM/Growmark River System, Inc., 234 F.3d 881, 888 (5th Cir. 2000).

     F. District Court's Refusal to Allow Additional Discovery and Evidence was an Abuse of Discretion

Baker submits the record as it now stands provides more than enough evidence to void the Charter's indemnity
provisions and support a finding of gross negligence on the part of Tidewater. Should this Court find otherwise,
however, the district court's judgment must still be reversed due to its abuse of discretion in preventing Baker




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from conducting additional discovery and submitting additional evidence, including the report and testimony of
its vessel operations expert, Captain David Scruton, prior to the retrial of this case.

After appeal and remand from Becker I. Baker moved to conduct additional limited discovery and to retain an
expert witness on the issue of gross negligence. (R.Vol. 13, p. 3725). Baker's Motion was filed in keeping with
this Court's mandate that “the question whether Baker must indemnify Tidewater must be considered anew, con-
sistent with the statutory scheme articulated in 33 U.S.C. §905(b)-(c),” and for a determination of “whether the
                                                                               [FN132]
evidence will show proof of gross negligence by any of the defendants.”                 In a ruling entered only six
days before trial, the disctrict court rejected all requests, aside from allowing Baker to take certain supplemental
depositions of those earlier deposed. (R.Vol. 17, p. 4811, R.E. Tab E.1). By doing so, the court abused its discre-
tion.

         FN132. Becker I, 335 F.3 at 394.

Leading up to the original trial, the district court granted summary judgment in favor of Tidewater and Under-
writers, ruling that the Charter's indemnity provisions were broad enough to encompass Tidewater's gross negli-
gence in causing Plaintiffs injuries. (R.Vol. 8, p. 2288; June 14, 2001 hearing transcript, pp. 2-12; R.E. Tab F).
The effect of this ruling was that it disposed of any opportunity Baker had to produce additional evidence sup-
porting it's claim that. Tidewater was grossly negligent. Since, according to the district court, the Charter's in-
demnity provisions encompassed gross negligence, the issue of whether gross negligence existed was moot until
that decision was vacated in Becker I. It also had the effect of eliminating any motive for Baker to introduce
such evidence, because it would do nothing but increase its exposure by heaping further fault on Tidewater.

On appeal in Becker I. this Court specifically noted Tidewater's motion for summary judgment was granted be-
                               [FN133]
fore discovery was complete.             Then, in discussing the granting of Underwriters' motion, the Court cor-
rectly noted that evidence allegedly implicating Tidewater's gross negligence had emerged between the granting
of Tidewater's motion and the filing of Underwriters' motion, and that Baker claimed whether Tidewater was
                                                               [FN134]
guilty of gross negligence was still a disputed issue of fact.         The Court then mandated that the indemnity
issue between Baker and Tidewater be reconsidered and specifically noted: “also yet to be determined is whether
                                                                             [FN135]
the evidence will show proof of gross negligence by any of the defendants.”

         FN133. Becker I, 335 F.3d at 384.

         FN134. Id. at 384, n.2.

         FN135. Id. at 393, n.11 (emphasis added).

By requiring a determination of the merits of this claim, this Court clearly rejected the district court's earlier rul-
ing that the contract language was broad enough to include indemnification for gross negligence. Moreover, by
referencing “evidence” rather than the record, and by speaking in future tense, in terms of “will show” rather
than as though the evidence had already been obtained, the Court clearly anticipated additional evidence being
taken to allow a full hearing on gross negligence with evidence, including testimony and experts, to assist in its
determination.

The actions and omissions of Tidewater's captains involved in the Rig 153 job, and conduct of Tidewater con-
cerning the inspection, maintenance and repair of its vessel which led to its condition at the time, the various
failures of equipment on the day of the accident and contingency planning of the Tidewater captains in light of




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these circumstances were all relevant to the inquiry of Tidewater's degree of culpability. Baker sought to con-
duct further discovery on these issues but was allowed, only six days before trial, to merely update depositions
previously taken, a worthless exercise. Additionally, Baker sought leave to retain an expert on the gross negli-
gence issue, a vessel operations expert, Captain David Scruton, regarding Tidewater's conduct prior to and at the
time of Plaintiff's accident. The lower court denied this and refused to consider this evidence. Captain Scruton's
report (Baker Proffer B-l, submitted at December 2005 trial, pp.42-43) provides expert opinion identifying the
following:
• That ten gallons of hydraulic fluid was added to the anchor windlass in May 199 indicated there was a poten-
tial problem with the windlass leaking hydraulic fluid. (Id., p.3).
• Captain Givens acted with complete disregard for the standards of good seamanship practices by proceeding
with the gravel packing job without being anchored, and exhibited an utter disregard for the safety of others by
allowing rig personnel to believe the vessel was anchored. (Id., p.4).
• Tidewater's utter and complete lack of foresight and/or contingency plans in the event vital equipment was lost
was especially egregious when its captains had full knowledge and appreciation of the fact that maintaining the
vessel's position was of paramount importance to the safety of the rig, the vessel, and all personnel. (Id.)
• Captain Lachney demonstrated a complete and reckless disregard for the safety of the men working on the rig
after the vessel's bow thruster failed by powering up the vessel's engines, breaking the starboard stern line and
pulling away from the rig, while being fully aware such movement would cause the coflex hose to move signi-
ficantly and that personnel were working in close proximity to the coflex hose pursuant to his instruction. (Id.,
pp.5-6).

Based on this Court's Becker I mandate, Baker submits it should have been allowed to introduce Captain
Scruton's testimony for consideration at the retrial of this case. This Court should at a minimum, consider Cap-
tain Scruton's expert report in evaluating whether Tidewater's conduct was grossly negligent.

Additional evidence of Tidewater's breach of the Charter should also have been admitted. As noted above, be-
cause the district court granted Tidewater summary judgment on its indemnity claims before discovery was com-
pleted for the original trial, Baker was prevented from providing additional evidence on the issue because it was
rendered moot.

However, following the original trial and Becker I. this Court's opinion in Marquette, supra, was rendered and
provided additional support for vitiating the Charter's indemnity agreement due to Tidewater's breach.

As set forth above, in Marquette, this Court stated that if the indemnitee had been found in breach of its war-
ranties under the pertinent contract, the Court's application of the indemnity clause would have perhaps been dif-
        [FN136]
ferent.          This statement called into question Tidewater's reliance on Fontenot v. Mesa Petroleum, supra,
in support of its argument that the indemnity provision was valid. Baker notes prior rulings from this Court may
be re-examined on remand if “controlling authority has since made a contrary decision of law applicable to such
         [FN137]
issues.”          When an intervening opinion from this Court articulated a different rule than was followed pri-
or to the original trial, the district court should have allowed the parties to supplement the record under the
                             [FN138]
newly articulated standard.

        FN136. 367 F.3d at 408.

        FN137. Blair v. Sealift. Inc., 91 F.3d 755, 761 (5th Cir. 1996) (internal citations omitted).

        FN138. See Diamond Offshore Co., 302 F.3d at 545-546 (Summary judgment record was insufficient




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         under intervening Fifth Circuit opinion to establish whether location of repair contractor's employee's
         alleged injury on an offshore drilling rig qualified as an OCSLA situs, such that the indemnity agree-
         ment between the contractor and the operator of the rig was valid with respect to employee's injury, not-
         withstanding coverage under the LHWCA. Therefore, remand was ordered with directions to allow op-
         erator to put forth additional summary judgment proof, since neither the district court nor the parties, in
         developing the summary judgment record, had the benefit of the subsequent opinion, which articulated
         a significantly different rule than was followed by the district court.).

Of particular importance to this issue is the indication that Tidewater may have ignored its obligation to inspect
the REPUBLIC TIDE'S anchor windlass for a much longer period that just the quarter before Plaintiff's accident.
Tidewater's participation in the Coast Guard's SIP required it to inspect the anchor windlass twice each year, in
March and September. Tidewater's records reflect this inspection was never performed for the quarter immedi-
ately preceding the accident. Following remand from Becker I. Baker requested leave to conduct. additional dis-
covery regarding Tidewater's inspection procedures because the record was unclear as to whether the semi-an-
nual inspections for the preceding year (1998) were ever performed. Tidewater apparently ignored Plaintiff's re-
quest for documents during the litigation which would have provided this information during discovery leading
up to the original trial. (Deposition transcript of Steven J. Lachney, p. 254, attached as Exhibit “A” to Baker's
Motion for Leave to Conduct Limited Discovery and Retain Expert Witness (R.Vol. 13, p.3725) and admitted
into evidence at December 2005 trial, pp. 13-15). Baker pleaded with the district court for leave to obtain this
missing information, but its request was flatly rejected.

In light of this Court's opinion in Marquette, which came after Becker I. specifically indicating that a purported
indemnitee is not absolved of its warranty duties under a contract just because indemnity provisions are included
therein, Baker should have been allowed to conduct discovery and supplement the record with additional evid-
ence of Tidewater's breach of its obligations under the Charter, including its failure to abide by SIP requirements
during the quarters, and even years preceding Plaintiffs accident. By preventing Baker from doing so, the district
court again abused its discretion.

Decisions to admit new evidence on remand from an appellate mandate vacating a judgment and ordering de-
termination of issues has consistently been met with favor by federal appellate courts. In State Indus., Inc. v.
                       [FN139]
Mor-Flo Indus., Inc.,           the Federal Circuit vacated the initial judgment of the district court and mandated
                                                                                         [FN140]
that it reconsider the issue of willful infringement and enhanced damages on remand.               The district court
                                                                                           [FN141]
adhered to the mandate by reopening the record to hear new evidence on those issues.                 Plaintiff argued
that reopening the record was not permitted by the appellate decision. In a subsequent appeal, the Federal Circuit
pointed out that, although it did not explicitly order a new evidentiary hearing, it certainly did not forbid one
                                                                                                        [FN142]
and, absent contrary instructions, such a decision was left to the sound discretion of the trial court.

         FN139. 948 F.2d 1573 (Fed. Cir. 1991).

         FN140. Id. at 1577.

         FN141. Id.

         FN142. Id.
                                                                          [FN143]
Similarly, the Sixth Circuit in Carter Jones Lumber Co. v. LTV Steel Co.,         held the district court prop-
erly allowed the plaintiff to introduce evidence on remand of an issue that had been ordered by the appellate




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                                                                           [FN144]
court to be considered, after the district court had not done so at trial.         The same situation is presented
here. The district court was instructed to reconsider Tidewater's indemnity claims and gross negligence, issues
which were disposed of early on in the litigation. Thus, on remand, the parties should have been allowed to in-
troduce evidence on these issues as their consideration “anew” was required by the appellate Court.

         FN143. 237 F.3d 745 (6th Cir. 2001), cert denied, Dixie Distributing Co.v. Carter-Jones Lumber Co.,
         533 U.S. 903, 121 S.Ct. 2244, 150 L.Ed.2d 232 (2001)

         FN144. Id. at 751.
                                                 [FN145]
Finally, in Schudel v. General Electric Co.,              the plaintiffs argued the district court erred in dismissing
their claims without a retrial, when the appellate court had remanded for a new trial. On remand, the district
court granted defendant's unopposed motion to conduct an inquiry prior to retrial of the remaining claims to de-
termine whether the plaintiffs could present evidence of causation that would survive the standards set out in the
                                 [FN146]
appellate court's first opinion.           The plaintiff was allowed to submit affidavits from his three experts used
                                                 [FN147]
at trial and from two newly retained experts.             Although the Ninth Circuit had previously remanded for a
new trial, it found the district court's actions proper as plaintiffs were “given...a fair change to remedy their inab-
ility to rely on the expert testimony they presented at the first trial by supplementing that testimony with new
            [FN148]
evidence.”

         FN145. 35 Fed.Appx.484 (9th Cir. 2002).

         FN146. Id. at 486.

         FN147. Id. at 487.

         FN148. Id. at 487-488.

These decisions reveal the preference of reviewing courts that district courts veer toward inclusion of too much,
rather than too little, new evidence on remand. Baker submits that since the district court here did the exact op-
posite, it abused its discretion and impermissibly inhibited the parties from developing their case on the issues
impacting in Tidewater's indemnity claims which were to be “considered anew” on remand. Should this Court
believe there to be insufficient evidence upon which to find gross negligence or breach of contract, this matter
should be remanded with instructions to allow discovery on these issues to proceed, and the issues to be con-
sidered again anew.

                                     CONCLUSION AND RELIEF SOUGHT

For the foregoing reasons, Baker requests the following relief:

1. The judgment be reversed and rendered in Baker's favor, against Tidewater and Underwriters, requiring that
Tidewater's insurance coverage from Pental Insurance Co., Ltd, Certain Underwriters at Lloyds Subscribing to
Risk No. Le010620O, and other available coverage be applied to Plaintiff's damages award and fully exhausted.
This result is supported by the language of the parties' Charter, general rules of maritime contract interpretation,
and this Court's long line of cases, beginning with Ogea. which require exhaustion of insurance limits for acci-
dents arising from contracts with terms similar to the parties' Charter. Baker should also be awarded reimburse-
ment of all defense costs, which must be quantified on remand.




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2. The judgment be reversed and rendered in Baker's favor, against Tidewater, on Tidewater's claims for indem-
nity. Not only does Section 905(b) of the LHWCA prohibit enforcement of the Charter's indemnity provisions
against Baker, but the record also firmly establishes those provisions are vitiated due to Tidewater's breach of
the Charter and gross negligence which caused Plaintiff's injuries.

3. Alternatively, the judgment be reversed and rendered in Baker's favor, limiting its indemnity obligation to
Tidewater's liability for Plaintiffs general damages. Fifth Circuit precedent prohibits an indemnitee from recov-
ering costs and attorneys' fees incurred in pursuing its claim for defense and indemnity. In addition, the Charter
clearly and unequivocally excludes “punitive, indirect, incidental, special [and] consequential damages” from
the parties reciprocal indemnity obligations “notwithstanding anything to the contrary contained [t]herein.” The
general rules of maritime contract interpretation warrant giving full effect to this limitation, and thereby, limit-
ing Baker's indemnity obligation, if any, to Tidewater's liability for Plaintiff's general damages only.

4. The judgment be reversed and the defendants' fault be reallocated to reflect that Baker is 0% at fault in its ca-
pacity as time charterer of the REPUBLIC TIDE, and thus, Tidewater was 100% at fault in causing Plaintiff's in-
juries.

5. And finally, should this Court find the evidence of record insufficient to support Baker's arguments regarding
the invalidity of the Charter's indemnity agreement due to Tidewater's breach of contract or gross negligence,
that the judgment be vacated and the matter remanded to the district court for further proceedings to allow for
additional discovery and the admission of additional evidence pertaining to these issues.

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Marine, LLC; Twenty Grand Offshore, Inc.; Pental Insurance Company, Ltd.; Certain Underwriters at Lloyd's
Subscribing to Risk No. LE010620O, Defendants - Appellees, v. Baker Hughes, Inc.; Baker Oil Tools, Inc, A
Division of Baker Hughes Oilfield Operations, Inc., Defendants - Appellants.
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                                                            joined.

        Supreme Court of the United States                      Mr. Justice Stevens filed a dissenting opinion.
          UNITED STATES, Petitioner,
                       v.                                                       West Headnotes
 L. O. WARD dba L. O. Ward Oil and Gas Opera-
                                                            [1] Penalties 295       16
                     tions.
                                                            295 Penalties
                   No. 79-394.
                                                                295II Actions and Other Proceedings
              Argued Feb. 26, 1980.
                                                                    295k16 k. Nature and Form of Remedy. Most
              Decided June 27, 1980.
                                                            Cited Cases
         Rehearing Denied Aug. 22, 1980.
                                                                 Whether a particular statutorily defined penalty
          See 448 U.S. 916, 101 S.Ct. 37.
                                                            is civil or criminal is a matter of statutory construc-
     Lessee of onshore drilling facility sued to en-        tion.
join collection of “civil penalty” imposed for dis-
                                                            [2] Penalties 295       16
charge of oil from retention pit into navigable wa-
ters. Consolidated therewith was suit by the United         295 Penalties
States to collect the unpaid penalty. The United               295II Actions and Other Proceedings
States District Court for the Western District of Ok-              295k16 k. Nature and Form of Remedy. Most
lahoma, Luther B. Eubanks, J., rendered judgment            Cited Cases
for the Government, and operator appealed, 423                   Inquiry whether a statutory penalty is civil or
F.Supp. 1352. The Court of Appeals for the Tenth            criminal proceeds on two levels: first, a court sets
Circuit, reversed and remanded, 598 F.2d 1187.              out to determine whether Congress, in establishing
Writ of certiorari issued. The Supreme Court, Mr.           the penalizing mechanism, indicated either ex-
Justice Rehnquist, held that: (1) the monetary pen-         pressly or impliedly a preference for one label or
alty imposed by Federal Water Pollution Control             another and, second, where Congress has indicated
Act against any owner or operator of a vessel etc.,         an intention to establish a civil penalty, the court
from which oil or a hazardous substance is dis-             inquires further whether the statutory scheme was
charged in violation of the Act is civil and does not       so punitive either in purpose or effect as to negate
trigger the protections afforded by the Constitution        that intention.
to a criminal defendant and hence, reporting re-
quirement, as used to support a “civil penalty” does        [3] Penalties 295       16
not violate the reporter-violator's right against com-
pulsory self-incrimination, and (2) proceeding in           295 Penalties
which the penalty was imposed was not                          295II Actions and Other Proceedings
“quasi-criminal” within the meaning of the Boyd                    295k16 k. Nature and Form of Remedy. Most
rule for purpose of triggering the Fifth Amend-             Cited Cases
ment's protection.                                              The seven Kennedy considerations for determ-
                                                            ining whether a penalty, although labeled civil, is,
    Judgment of Court of Appeals reversed.                  in fact, a criminal sanction are neither exhaustive
                                                            nor dispositive.
    Mr. Justice Blackmun filed an opinion concur-
ring in the judgment, in which Mr. Justice Marshall         [4] Environmental Law 149E            223




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149E Environmental Law                                      erator of a vessel, onshore facility, or offshore fa-
    149EV Water Pollution                                   cility from which oil or a hazardous substance is
        149Ek223 k. Penalties and Fines. Most Cited         discharged in violation of the Act is civil and does
Cases                                                       not trigger the protections afforded by the Constitu-
      (Formerly 199k25.7(24) Health and Environ-            tion to a criminal defendant; hence, reporting re-
ment)                                                       quirement, as used to support a “civil penalty”,
     Fact that Rivers and Harbors Appropriation Act         does not violate the reporter-violator's right against
of 1899 made criminal the escape of oil from an oil         compulsory self-incrimination. Federal Water Pol-
retention pit at a drilling facility, which oil eventu-     lution Control Act Amendments of 1972 (Clean
ally found its way into body of navigable water did         Water Act), § 311(b)(3, 5, 6), 33 U.S.C.A. §
not render the “civil penalty” under Federal Water          1321(b)(3, 5, 6); U.S.C.A.Const. Amend. 5.
Pollution Control Act criminal in nature. Federal
Water Pollution Control Act Amendments of 1972              [6] Criminal Law 110         393(1)
(Clean Water Act), § 311(b)(6), 33 U.S.C.A. §
                                                            110 Criminal Law
1321(b)(6); Rivers and Harbors Appropriation Act
                                                               110XVII Evidence
of 1899, § 13, 33 U.S.C.A. § 407.
                                                                  110XVII(I) Competency in General
[5] Criminal Law 110         393(1)                                  110k393 Compelling Self-Incrimination
                                                                         110k393(1) k. In General. Most Cited
110 Criminal Law                                            Cases
   110XVII Evidence
      110XVII(I) Competency in General                      Environmental Law 149E           207
         110k393 Compelling Self-Incrimination
                                                            149E Environmental Law
             110k393(1) k. In General. Most Cited
                                                                149EV Water Pollution
Cases
                                                                   149Ek204 Compliance and Enforcement
Environmental Law 149E            207                                 149Ek207 k. Reporting, Notice, and Mon-
                                                            itoring Requirements. Most Cited Cases
149E Environmental Law                                            (Formerly 199k25.7(24) Health and Environ-
    149EV Water Pollution                                   ment)
       149Ek204 Compliance and Enforcement
          149Ek207 k. Reporting, Notice, and Mon-           Environmental Law 149E           223
itoring Requirements. Most Cited Cases
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                                                               149EV Water Pollution
ment)
                                                                   149Ek223 k. Penalties and Fines. Most Cited
Environmental Law 149E            223                       Cases
                                                                 (Formerly 199k25.7(24) Health and Environ-
149E Environmental Law                                      ment)
    149EV Water Pollution                                       Proceeding in which “civil penalty” authorized
        149Ek223 k. Penalties and Fines. Most Cited         by Federal Water Pollution Control Act was im-
Cases                                                       posed on lessee of onshore drilling facility from
      (Formerly 199k25.7(24) Health and Environ-            which oil had escaped into navigable water, was not
ment)                                                       “quasi-criminal” within meaning of Boyd rule so as
     The monetary penalty imposed by Federal Wa-            to implicate Fifth Amendment protection against
ter Pollution Control Act against any owner or op-          compulsory self-incrimination as regards use of




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statutory reporting requirements, i. e., obligation to      reporting requirements of § 311(b)(5), as used to
report a discharge or spill, in support of the penalty.     support a civil penalty under § 311(b)(6), violated
Federal Water Pollution Control Act Amendments              his right against compulsory self-incrimination, and
of 1972 (Clean Water Act), § 311(b)(3, 5, 6), 33            ultimately the jury found that respondent's facility
U.S.C.A. § 1321(b)(3, 5, 6); U.S.C.A.Const.                 did, in fact, spill oil into the creek in question. The
Amend. 5.                                                   Court of Appeals reversed, holding that § 311(b)(6)
                                  FN*                       was sufficiently punitive to intrude upon the Fifth
                **2637 Syllabus                             Amendment's protections against compulsory self-
                                                            incrimination.
         FN* The syllabus constitutes no part of the
         opinion of the Court but has been prepared             Held :
         by the Reporter of Decisions for the con-
         venience of the reader. See United States v.           1. The penalty imposed by § 311(b)(6) is civil
         Detroit Lumber Co., 200 U.S. 321, 337, 26          and hence does not trigger the protections afforded
         S.Ct. 282, 287, 50 L.Ed. 499.                      by the Constitution to a criminal defendant. Pp.
                                                            2640-2642.
     *242 Section 311(b)(3) of the Federal Water
Pollution Control Act prohibits the discharge of oil             (a) It is clear that Congress intended in §
into navigable waters. Section 311(b)(5) requires           311(b)(6) to impose a civil penalty upon persons in
any person in charge of an onshore facility to report       respondent's position, and to allow imposition*243
any such discharge to the appropriate Government               of the penalty without regard to the procedural
agency, and a failure to report subjects the person         protections and restrictions available in criminal
to a fine or imprisonment. Section **2638                   prosecutions. This intent is indicated by the fact
311(b)(5) also provides for a form of “use im-              that the authorized sanction is labeled a “civil pen-
munity,” by specifying that notification of the dis-        alty,” and by the juxtaposition of such label with
charge or information obtained by the exploitation          the criminal penalties set forth in § 311(b)(5). P.
of such notification is not to be used against the re-      2641.
porting person in any criminal case, except for pro-
secution for perjury or for giving a false statement.            (b) The fact that § 13 of the Rivers and Harbors
Section 311(b)(6) provides for the imposition of a          Appropriation Act of 1899 makes criminal the con-
“civil penalty” against any owner or operator of an         duct penalized in this case does not render the pen-
onshore facility from which oil was discharged in           alty under § 311(b)(6) criminal in nature. The
violation of the Act. When oil escaped from a               placement of criminal penalties in one statute and
drilling facility leased by respondent and spilled in-      of civil penalties in another statute enacted 70 years
to a tributary of the Arkansas River system, re-            later tends to dilute the force of the factor-the beha-
spondent notified the Environmental Protection              vior to which the penalty applies is already a crime-
Agency of the discharge, and this was reported to           considered, inter alia in Kennedy v. Mendoza-Mar-
the Coast Guard who assessed a $500 penalty                 tinez, 372 U.S. 144, 83 S.Ct. 554, 9 L.Ed.2d 644, as
against respondent under § 311(b)(6). After his ad-         indicating that a penalty is criminal in nature.
ministrative appeal was denied, respondent filed            Neither that factor nor any of the other factors set
suit in Federal District Court, seeking injunctive re-      forth in Mendoza-Martinez are sufficient to render
lief against enforcement of §§ 311(b)(5) and (6)            unconstitutional the congressional classification of
and collection of the penalty. The Government filed         the penalty established in § 311(b)(6). Pp.
a separate suit to collect the penalty, and the suits       2641-2642.
were consolidated for trial. Prior to trial, the Dis-
                                                                2. The proceeding in which the penalty was im-
trict Court rejected respondent's contention that the




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posed was not “quasi-criminal” so as to implicate           munity,” specifying that “[n]otification received
the Fifth Amendment's protection against self-              pursuant to this paragraph or information obtained
incrimination. Boyd v. United States, 116 U.S. 616,         by the exploitation of such notification shall not be
6 S.Ct. 524, 29 L.Ed. 746, distinguished. In light of       used against any such person in any criminal case,
overwhelming evidence that Congress intended to             except a prosecution for perjury or for giving a
                                                                                                      FN3
create a penalty civil in all respects and weak evid-       false statement.” 33 U.S.C. § 1321(b)(5).
ence of any countervailing punitive purpose or ef-
fect, it would be anomalous to hold that § 311(b)(6)                FN1. Section 311 was amended by the
created a criminal penalty for the purposes of the                  Clean Water Act of 1977, Pub.L. 95-217,
Self-Incrimination Clause but a civil penalty for all               91 Stat. 1566, and the Federal Water Pollu-
other purposes. Pp. 2642-2644.                                      tion Control Act Amendments of 1978,
                                                                    Pub.L. 95-576, 92 Stat. 2468. Except as
   10 Cir., 598 F.2d 1187, reversed.                                noted, those amendments have no bearing
Edwin S. Kneedler for petitioner.                                   on the present case. See nn. 2 and 4, infra.

Stephen Jones, Enid, Okl., for respondent.                          FN2. Section 311(b)(3) was amended by
                                                                    the Federal Water Pollution Control Act
                                                                    Amendments of 1978, Pub.L. 95-576, 92
*244 Mr. Justice REHNQUIST delivered the opin-
                                                                    Stat. 2468, to prohibit the discharge of oil
ion of the Court.
                                                                    and hazardous substances “in such quantit-
     The United States seeks review of a decision of
                                                                    ies as may be harmful” (emphasis added),
the United States Court of Appeals for the Tenth
                                                                    as determined by the President.
Circuit that a proceeding for the assessment of a
“civil penalty” under § 311(b)(6) of the Federal                    FN3. At the time in question, § 311(b)(5)
Water Pollution Control Act (FWPCA) is a                            read in full:
“criminal case” **2639 within the meaning of the
Fifth Amendment's guarantee against compulsory                         “Any person in charge of a vessel or of
self-incrimination. We granted certiorari, 444 U.S.                    an onshore facility or an offshore facility
939, 100 S.Ct. 291, 62 L.Ed.2d 305, and now re-                        shall, as soon as he has knowledge of
verse.                                                                 any discharge of oil or a hazardous sub-
                                                                       stance from such vessel or facility in vi-
                           I                                           olation of paragraph (3) of this subsec-
                                  FN1
     At the time this case arose,      § 311(b)(3) of                  tion, immediately notify the appropriate
the FWPCA prohibited the discharge into navigable                      agency of the United States Government
waters or onto adjoining shorelines of oil or hazard-                  of such discharge. Any such person who
ous substances in quantities determined by the Pres-                   fails to notify immediately such agency
                        FN2
ident to be “harmful.”       Section 311(b)(5) of the                  of such discharge shall, upon conviction,
Act imposed a duty upon “any person in charge of a                     be fined not more than $10,000, or im-
vessel or of an onshore facility or an offshore facil-                 prisoned for not more than one year, or
ity” to report any discharge of oil or a hazardous                     both. Notification received pursuant to
substance into navigable waters to the “appropriate                    this paragraph or information obtained
agency” of the United States Government. Should                        by the exploitation of such notification
that person fail to supply such notification, he or                    shall not be used against any such person
she was liable to a fine of not more than $10,000 or                   in any criminal case, except a prosecu-
imprisonment of not more than one year. Section                        tion for perjury or for giving a false
311(b)(5) also provided for a form of “use im-                         statement.”




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     *245 Section 311(b)(6) provided for the impos-                    fect on the owner or operator's ability to
ition of a “civil penalty” against “[a]ny owner or                     continue in business, and the gravity of
operator of any vessel, onshore facility, or offshore                  the violation, shall be considered by
facility from which oil or a hazardous substance is                    such Secretary. The Secretary of the
discharged in violation” of the Act. In 1975, that                     Treasury shall withhold at the request of
subsection called for a penalty of up to $5,000 for                    such Secretary the clearance required by
                              FN4
each violation of the Act.          In assessing penal-                section 91 of Title 46 of any vessel the
ties, the Secretary of the appropriate agency was to                   owner or operator of which is subject to
take into account “the appropriateness of such pen-                    the foregoing penalty. Clearance may be
alty to the size of the business or of the owner or                    granted in such cases upon the filing of a
operator charged, the effect on the owner or operat-                   bond or other surety satisfactory to such
or's ability to continue in business, and the gravity                  Secretary.”
                                                  FN5
of the violation . . . .” 33 U.S.C. § 1321(b)(6).
                                                                 *246 **2640 According to § 311(k) of the Act,
         FN4. Section 311(b)(6) was amended by              funds collected from the assessment of penalties
         the Federal Water Pollution Control Act            under § 311(b)(6) were to be paid into a “revolving
         Amendments of 1978, Pub.L. 95-576, 92              fund” together with “other funds received ... under
         Stat. 2168, to authorize civil penalties of        this section” and any money appropriated to the re-
         up to $50,000 per offense, or up to                volving fund by Congress. See 33 U.S.C. § 1321(k)
         $250,000 per offense in cases where the            . Money contained in this fund was to be used to
         discharge was the result of willful negli-         finance the removal, containment, or dispersal of
         gence or misconduct.                               oil and hazardous substances discharged into navig-
                                                            able waters and to defray the costs of administering
         FN5. At the time of the discharge in this          the Act. 33 U.S.C. § 1321(l ). another section of the
         case, § 311(b)(6), as set forth in 33 U.S.C.       Act allowed the United States Government to col-
         § 1321(b)(6), read:                                lect the costs of removal, containment, or dispersal
                                                            of a discharge from the person or corporation re-
           “Any owner or operator of any vessel,
                                                            sponsible for that discharge in cases where that per-
           onshore facility, or offshore facility from
                                                            son or corporation had been identified. 33 U.S.C. §
           which oil or a hazardous substance is
                                                            1321(f).
           discharged in violation of paragraph (3)
           of this subsection shall be assessed a                On or about March 23, 1975, oil escaped from
           civil penalty by the Secretary of the de-        an oil retention pit at a drilling facility located near
           partment in which the Coast Guard is op-         Enid, Okla., and eventually found its way into Bog-
           erating of not more than $5,000 for each         gie Creek, a tributary of the Arkansas River system.
           offense. No penalty shall be assessed un-        FN6
                                                                  At the time of the discharge, the premises
           less the owner or operator charged shall         were being leased by respondent L. O. Ward, who
           have been given notice and opportunity           was doing business as L. O. Ward Oil & Gas Oper-
           for a hearing of such charge. Each viola-        ations. On April 2, 1975, respondent Ward notified
           tion is a separate offense. Any such civil       the regional office of the Environmental Protection
           penalty may be compromised by such               Agency (EPA) that a discharge of oil had taken
           Secretary. In determining the amount of          place. Ward later submitted a more complete writ-
           the penalty, or the amount agreed upon           ten report of the discharge, which was in turn for-
           in compromise, the appropriateness of            warded to the Coast Guard, the agency responsible
           such penalty to the size of the business         for assessing civil penalties under § 311(b)(6).
           of the owner or operator charged, the ef-




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                                                                                            FN7
         FN6. All parties concede that Boggie               567-568, 9 L.Ed.2d 644 (1963),       and held that
         Creek is a “navigable water” within the            **2641 § 311(b)(6) was sufficiently *248 punitive
         meaning of 33 U.S.C. § 1362(7).                    to intrude upon the Fifth Amendment's protections
                                                            against compulsory self-incrimination. It therefore
     After notice and opportunity for hearing, the          reversed and remanded for further proceedings in
Coast Guard assessed a civil penalty against re-            the collection suit.
spondent in the amount *247 of $500. Respondent
filed an administrative appeal from this ruling, con-                FN7. The standards set forth were
tending, inter alia, that the reporting requirements                 “[w]hether the sanction involves an affirm-
of § 311(b)(5) of the Act violated his privilege                     ative disability or restraint, whether it has
against compulsory self-incrimination. The admin-                    historically been regarded as a punishment,
istrative appeal was denied.                                         whether it comes into play only on a find-
                                                                     ing of scienter, whether its operation will
     On April 13, 1976, Ward filed suit in the                       promote the traditional aims of punish-
United States District Court for the Western Dis-                    ment-retribution and deterrence, whether
trict of Oklahoma, seeking to enjoin the Secretary                   the behavior to which it applies is already
of Transportation, the Commandant of the Coast                       a crime, whether an alternative purpose to
Guard, and the Administrator of EPA from enfor-                      which it may rationally be connected is as-
cing §§ 311(b)(5) and (6) and from collecting the                    signable for it, and whether it appears ex-
penalty of $500. On June 4, 1976, the United States                  cessive in relation to the alternative pur-
filed a separate suit in the same court to collect the               pose assigned. . . .” 372 U.S., at 168-169,
unpaid penalty. The District Court eventually                        83 S.Ct., at 567-568 (footnotes omitted).
ordered the two suits consolidated for trial.
                                                                                      II
     Prior to trial, the District Court rejected Ward's          The distinction between a civil penalty and a
contention that the reporting requirements of §             criminal penalty is of some constitutional import.
311(b)(5), as used to support a civil penalty under §       The Self-Incrimination Clause of the Fifth Amend-
311(b)(6), violated his right against compulsory            ment, for example, is expressly limited to “any
self-incrimination. The case was tried to a jury,           criminal case.” Similarly, the protections provided
which found that Ward's facility did, in fact, spill        by the Sixth Amendment are available only in
oil into Boggie Creek. The District Court, however,         “criminal prosecutions.” Other constitutional pro-
reduced Ward's penalty to $250 because of the               tections, while not explicitly limited to one context
amount of oil that had spilled and because of its be-       or the other, have been so limited by decision of
lief that Ward had been diligent in his attempts to         this Court. See, e. g., Helvering v. Mitchell, 303
clean up the discharge after it had been discovered.        U.S. 391, 399, 58 S.Ct. 630, 633, 82 L.Ed. 917
                                                            (1938) (Double Jeopardy Clause protects only
     The United States Court of Appeals for the
                                                            against two criminal punishments); United States v.
Tenth Circuit reversed. Ward v. Coleman, 598 F.2d
                                                            Regan 232 U.S. 37, 47-48, 34 S.Ct. 213, 216-217,
1187 (1979). Although admitting that Congress had
                                                            58 L.Ed. 494 (1914) (proof beyond a reasonable
labeled the penalty provided for in § 311(b)(6) as
                                                            doubt required only in criminal cases).
civil and that the use of funds collected under that
section to finance the administration of the Act in-             [1][2] This Court has often stated that the ques-
dicated a “remedial” purpose for the provision, the         tion whether a particular statutorily defined penalty
Court of Appeals tested the statutory scheme                is civil or criminal is a matter of statutory construc-
against the standards set forth in Kennedy v. Mend-         tion. See e. g., One Lot Emerald Cut Stones v.
oza-Martinez, 372 U.S. 144, 168-169, 83 S.Ct. 554,          United States, 409 U.S. 232, 237, 93 S.Ct. 489,




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493, 34 L.Ed.2d 438 (1972); Helvering v. Mitchell,          termination, both the District Court and the Court
supra, 303 U.S., at 399, 58 S.Ct., at 633. Our in-          of Appeals found it useful to refer to the seven con-
quiry in this regard has traditionally proceeded on         siderations listed in Kennedy v. Mendoza-Martinez,
two levels. First, we have set out to determine             supra, 372 U.S., at 168-169, 83 S.Ct., at 567-568.
whether Congress, in establishing the penalizing            This list of considerations, while certainly neither
mechanism, indicated either expressly or impliedly          exhaustive nor dispositive, has proved helpful in
a preference for one label or the other. See One Lot        our own consideration **2642 of similar questions,
Emerald Cut Stones v. United States, supra, at              see, e. g., Bell v. Wolfish, 441 U.S. 520, 537-538,
236-237, 93 S.Ct., at 492-493. Second, where Con-           99 S.Ct. 1861, 1873-1874, 60 L.Ed.2d 447 (1979),
gress has indicated an intention to establish a civil       and provides some guidance in the present case.
penalty, we have inquired further whether the stat-
utory*249 scheme was so punitive either in purpose               [4] Without setting forth here our assessment
or effect as to negate that intention. See Flemming         of each of the seven Mendoza-Martinez factors, we
v. Nestor, 363 U.S. 603, 617-621, 80 S.Ct., 1367,           think only one, the fifth, aids respondent. That is a
1376-1378, 4 L.Ed.2d 1435 (1960). In regard to this         consideration of whether “the *250 behavior to
latter inquiry, we have noted that “only the clearest       which [the penalty] applies is already a crime.” 372
proof could suffice to establish the unconstitution-        U.S., at 168-169, 83 S.Ct., at 567. In this regard, re-
ality of a statute on such a ground.” Id., at 617, 80       spondent contends that § 13 of the Rivers and Har-
S.Ct., at 1376. See also One Lot Emerald Cut                bors Appropriation Act of 1899, 33 U.S.C. § 407,
Stones v. United States, supra, 409 U.S., at 237, 93        makes criminal the precise conduct penalized in the
S.Ct., at 493; Rex Trailer Co. v. United States, 350        present case. Moreover, respondent points out that
U.S. 148, 154, 76 S.Ct. 219, 222, 100 L.Ed. 149             at least one federal court has held that § 13 of the
(1956).                                                     Rivers and Harbors Appropriation Act defines a
                                                            “strict liability crime,” for which the Government
     As for our first inquiry in the present case, we       need prove no scienter. See United States v. White
believe it quite clear that Congress intended to im-        Fuel Corp., 498 F.2d 619 (CA1 1974). According
pose a civil penalty upon persons in Ward's posi-           to respondent, this confirms the lower court's con-
tion. Initially, and importantly, Congress labeled          clusion that this fifth factor “falls clearly in favor of
the sanction authorized in § 311(b)(6) a “civil pen-        a finding that [§ 311(b)(6)] is criminal in nature.”
alty,” a label that takes on added significance given       598 F.2d, at 1193.
its juxtaposition with the criminal penalties set
forth in the immediately preceding subparagraph, §               While we agree that this consideration seems to
311(b)(5). Thus, we have no doubt that Congress             point toward a finding that § 311(b)(6) is criminal
intended to allow imposition of penalties under §           in nature, that indication is not as strong as it seems
311(b)(6) without regard to the procedural protec-          at first blush. We have noted on a number of occa-
tions and restrictions available in criminal prosecu-       sions that “Congress may impose both a criminal
tions.                                                      and a civil sanction in respect to the same act or
                                                            omission.” Helvering v. Mitchell, supra, 303 U.S.,
    [3] We turn then to consider whether Congress,          at 399, 58 S.Ct., at 633; One Lot Emerald Cut
despite its manifest intention to establish a civil, re-    Stones v. United States, supra, 409 U.S., at 235, 93
medial mechanism, nevertheless provided for sanc-           S.Ct., at 492. Moreover, in Helvering, where we
tions so punitive as to “transfor[m] what was               held a 50% penalty for tax fraud to be civil, we
clearly intended as a civil remedy into a criminal          found it quite significant that “the Revenue Act of
penalty.” Rex Trailer Co. v. United States, supra,          1928 contains two separate and distinct provisions
350 U.S. at 154, 76 S.Ct., at 222. In making this de-       imposing sanctions,” and that “these appear in dif-




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ferent parts of the statute . . . .” 303 U.S., at 404, 58   S.Ct., at 525. Despite the pending indictment, ap-
S.Ct., at 636. See also One Lot Emerald Cut Stones          pellants filed a claim for the goods held by the
v. United States, supra, at 236-237, 93 S.Ct., at           United States. In response, the prosecutor obtained
492-493. To the extent that we found significant the        an order of the District Court requiring appellants
separation of civil and criminal penalties within the       to produce the **2643 invoice covering the goods
same statute, we believe that the placement of crim-        at issue. Appellants objected that such an order vi-
inal penalties in one statute and the placement of          olated the Fourth and Fifth Amendments by sub-
civil penalties in another statute enacted 70 years         jecting them to an unreasonable search and seizure
later tends to dilute the force of the fifth Mendoza-       and by requiring them to act as witnesses against
Martinez criterion in this case.                            themselves.

     [5] In sum, we believe that the factors set forth           This Court found the Fifth Amendment applic-
in Mendoza-Martinez, while neither exhaustive nor           able, even though the action in question was one
conclusive on the issue, are in no way sufficient to        contesting the forfeiture *252 of certain goods. Ac-
render unconstitutional the congressional*251 clas-         cording to the Court: “We are . . . clearly of opinion
sification of the penalty established in § 311(b)(6)        that proceedings instituted for the purpose of de-
as civil. Nor are we persuaded by any of respond-           claring the forfeiture of a man's property by reason
ent's other arguments that he has offered the               of offences committed by him, though they may be
“clearest proof” that the penalty here in question is       civil in form, are in their nature criminal.” Id., at
punitive in either purpose or effect.                       633-634, 6 S.Ct., at 534. While at this point in its
                                                            opinion, the Court seemed to limit its holding to
                          III                               proceedings involving the forfeiture of property,
     Our conclusion that § 311(b)(6) does not trig-         shortly after the quoted passage it broadened its
ger all the protections afforded by the Constitution        reasoning in a manner that might seem to apply to
to a criminal defendant does not completely dispose         the present case: “As, therefore, suits for penalties
of this case. Respondent asserts that, even if the          and forfeitures, incurred by the commission of of-
penalty imposed upon him was not sufficiently               fences against the law, are of this quasi-criminal
criminal in nature to trigger other guarantees, it was      nature, we think that they are within the reason of
“quasi-criminal,” and therefore sufficient to implic-       criminal proceedings for all the purposes of the
ate the Fifth Amendment's protection against com-           fourth amendment of the constitution, and of that
pulsory self-incrimination. He relies primarily in          portion of the fifth amendment which declares that
this regard upon Boyd v. United States, 116 U.S.            no person shall be compelled in any criminal case
616, 6 S.Ct. 524, 29 L.Ed. 746 (1886), and later            to be a witness against himself . . . .” Id., at 634, 6
cases quoting its language.                                 S.Ct., at 534 (emphasis added).

     In Boyd, appellants had been indicted under §              Seven years later, this Court relied primarily
12 of an “Act to amend the customs revenue laws             upon Boyd in holding that a proceeding resulting in
and to repeal moieties,” for fraudulently attempting        a “forfeit and penalty” of $1,000 for violation of an
to deprive the United States of lawful customs du-          Act prohibiting the employment of aliens was suffi-
ties payable on certain imported merchandise. Ac-           ciently criminal to trigger the protections of the
cording to the statute in question, a person found in       Self-Incrimination Clause of the Fifth Amendment.
violation of its provisions was to be “fined in any         Lees v. United States, 150 U.S. 476, 14 S.Ct. 163,
sum not exceeding $5,000 nor less than $50, or be           37 L.Ed. 1150 (1893). More recently, in One 1958
imprisoned for any time not exceeding two years,            Plymouth Sedan v. Pennsylvania, 380 U.S. 693, 85
or both; and, in addition to such fine, such mer-           S.Ct. 1246, 14 L.Ed.2d 170 (1965), and United
chandise shall be forfeited.” 116 U.S., at 617, 6




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States v. United States Coin & Currency, 401 U.S.           criminal in their nature that the defendant cannot be
715, 91 S.Ct. 1041, 28 L.Ed.2d 434 (1971), this             compelled to testify against himself in such actions
Court applied Boyd to proceedings involving the             in respect to any matters involving, or that **2644
forfeiture of property for alleged criminal activity.       may involve, his being guilty of a criminal of-
Plymouth Sedan dealt with the applicability of the          fense.” Id., at 112, 29 S.Ct., at 478.
so-called exclusionary rule to a proceeding brought
by the State of Pennsylvania to secure the forfeiture            The question before us, then, is whether the
of a car allegedly involved in the illegal transporta-      penalty imposed in this case, although clearly not
tion of liquor. Coin & Currency involved the ap-            “criminal” enough to trigger the protections of the
plicability of the Fifth Amendment privilege                Sixth Amendment, the Double Jeopardy Clause of
against compulsory self-incrimination in a proceed-         the Fifth Amendment, or the other procedural guar-
ing brought by the United States to secure forfeiture       antees normally associated with criminal prosecu-
*253 of $8,674 found in the possession of a gam-            tions, is nevertheless “so far criminal in [its]
bler at the time of his arrest.                             nature” *254 as to trigger the Self-Incrimination
                                                            Clause of the Fifth Amendment. Initially, we note
     Read broadly, Boyd might control the present           that the penalty and proceeding considered in Boyd
case. This Court has declined, however, to give full        were quite different from those considered in this
scope to the reasoning and dicta in Boyd, noting on         case. Boyd dealt with forfeiture of property, a pen-
at least one occasion that “[s]everal of Boyd 's ex-        alty that had absolutely no correlation to any dam-
press or implicit declarations have not stood the test      ages sustained by society or to the cost of enforcing
of time.” Fisher v. United States, 425 U.S. 391,            the law. See also Lees v. United States, supra (fixed
407, 96 S.Ct. 1569, 1579, 48 L.Ed.2d 39 (1976). In          monetary penalty); One 1958 Plymouth Sedan v.
United States v. Regan, 232 U.S. 37, 34 S.Ct. 213,          Pennsylvania, supra (forfeiture); United States v.
58 L.Ed. 494 (1914), for example, we declined to            United States Coin & Currency, supra (forfeiture).
apply Boyd 's classification of penalties and forfeit-      Here the penalty is much more analogous to tradi-
ures as criminal in a case where a defendant as-            tional civil damages. Moreover, the statute under
sessed with a $1,000 penalty for violation of the           scrutiny in Boyd listed forfeiture along with fine
Alien Immigration Act claimed that he was entitled          and imprisonment as one possible punishment for
to have the Government prove its case beyond a              customs fraud, a fact of some significance to the
reasonable doubt. Boyd and Lees, according to               Boyd Court. See 116 U.S., at 634, 6 S.Ct., at 534.
Regan, were limited in scope to the Fifth Amend-            Here, as previously stated, the civil remedy and the
ment's guarantee against compulsory self-                   criminal remedy are contained in separate statutes
incrimination, which “is of broader scope than are          enacted 70 years apart. The proceedings in Boyd
the guarantees in Art. [III] and the [Sixth] Amend-         also posed a danger that the appellants would preju-
ment governing trials and criminal prosecutions.”           dice themselves in respect to later criminal pro-
232 U.S., at 50, 34 S.Ct., at 218. See also Helvering       ceedings. See Hepner v. United States, supra, 213
v. Mitchell, 303 U.S., at 400, n. 3, 58 S.Ct., at 633       U.S., at 112, 29 S.Ct., at 478. Here, respondent is
n. 3. Similarly, in Hepner v. United States, 213 U.S.       protected by § 311(b)(5), which expressly provides
103, 29 S.Ct. 474, 53 L.Ed. 720 (1909), this Court          that “[n]otification received pursuant to this para-
upheld the entry of a directed verdict against the          graph or information obtained by the exploitation of
appellant under a statute similar to that examined in       such notification shall not be used against any such
Lees. According to Hepner, “the Lees and Boyd               person in any criminal case, except [for] prosecu-
cases do not modify or disturb but recognize the            tion for perjury or for giving a false statement.” 33
general rule that penalties may be recovered by             U.S.C. § 1321(b)(5).
civil actions, although such actions may be so far




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     [6] More importantly, however, we believe that         § 407; and that the criteria employed by the Coast
in the light of what we have found to be over-              Guard to set the amount of assessments permit pen-
whelming evidence that Congress intended to create          alties that may be excessive in relation to alternat-
a penalty civil in all respects and quite weak evid-        ive remedial or nonpunitive purposes. Ward v.
ence of any countervailing punitive purpose or ef-          Coleman, 598 F.2d 1187, 1192-1194 (CA10 1979).
fect it would be quite anomalous to hold that §             The Court is content to discuss only one of *256
311(b)(6) created a criminal penalty for the pur-           these findings. See ante, at 2641. Because of the
poses of the Self-Incrimination Clause but a civil          consideration given the others by the Court of Ap-
penalty for all other purposes. We do not read Boyd         peals, I think they deserve brief discussion, too.
as requiring a contrary conclusion.
                                                                 My analysis of these other factors differs from
                      *255 IV                               that of the Court of Appeals in two principal re-
     We conclude that the penalty imposed by Con-           spects. First, I do not agree with that court's appar-
gress was civil, and that the proceeding in which it        ent conclusion that none of the Mendoza-Martinez
was imposed was not “quasi-criminal” as that term           factors strongly supports a “civil” designation for a
is used in Boyd v. United States, supra. The judg-          penalty proceeding under § 311(b)(6). I conclude
ment of the Court of Appeals is therefore                   that imposition of a monetary penalty under this
                                                            statute does not result in the imposition of an
    Reversed.                                               “affirmative disability or restraint” within the
                                                            meaning of Mendoza-Martinez, supra, 372 U.S., at
Mr. Justice BLACKMUN, with whom Mr. Justice
                                                            168, 83 S.Ct., at 567; that monetary assessments are
MARSHALL joins, concurring in the judgment.
                                                            traditionally a form of civil remedy; and that, as the
     I agree with the Court that a proceeding for as-
                                                            Court of Appeals conceded, 598 F.2d, at 1193, §
sessment of a monetary penalty under § 311(b)(6)
                                                            311(b)(6) serves remedial purposes dissociated
of the Federal Water Pollution Control Act, 33
                                                            from punishment. Although any one of these con-
U.S.C. § 1321(b)(6), is not a “criminal case” within
                                                            siderations by itself might not weigh heavily in fa-
the meaning of the Fifth Amendment. I reach this
                                                            vor of a “civil” designation, I think that cumulat-
conclusion, however, for a number of reasons in ad-
                                                            ively they point significantly in that direction.
dition to those discussed in the Court's opinion.
                                                                 Second, I would assign less weight to the role
     The Court of Appeals engaged in a careful ana-
                                                            of scienter, the promotion of penal objectives, and
lysis of the standards set forth in Kennedy v. Mend-
                                                            the potential excessiveness of fines than did the
oza-Martinez, 372 U.S. 144, 168-169, 83 S.Ct. 554,
                                                            Court of Appeals. Mendoza-Martinez suggested
567-568, 9 L.Ed.2d 644 (1963), for distinguishing
                                                            that a sanction that “comes into play only on a find-
civil from criminal proceedings. These standards
                                                            ing of scienter ” might be indicative of a criminal
are cataloged in a footnote of the Court's opinion.
                                                            proceeding. 372 U.S., at 168, 83 S.Ct., at 567 (first
Ante, at 2640, n. 7. The Court of Appeals concluded
                                                            emphasis added). Plainly, that is not the case here.
that some of the seven stated factors offered little
                                                            Scienter is not mentioned on the face of the statute,
guidance in this case, while others supported a
                                                            and it is only one of many factors relevant to de-
“criminal” designation. In particular, it found that
                                                            termination of an assessment under Coast Guard
scienter played a part in determining the amount of
                                                            Commandant Instruction 5922.11B (Oct. 10, 1974).
penalty assessments; that the penalties promote tra-
                                                            Furthermore, although the fines conceivably could
ditional retributive aims of punishment; that beha-
                                                            be used to promote primarily deterrent or re-
vior giving rise to the assessment is subject to crim-
                                                            tributive ends, the fact that collected assessments
inal punishment under § 13 of the Rivers and Har-
                                                            are deposited in a revolving fund used to defray the
bors Appropriation Act of 1899, **2645 33 U.S.C.




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                                                                                                            FN1
expense of cleanup operations is a strong indicator         the cost of cleaning up an *258 oil spill.
of the pervasively civil and compensatory thrust of         Rather, this part of the statute is clearly aimed at
the statutory scheme. See § 311(k), 33 U.S.C. §             exacting retribution for causing the spill:
1321(k). Finally, while some of the factors em-
ployed by the Coast Guard to set *257 the amount                    FN1. An owner or operator is liable for
of assessments undoubtedly could be used to exact                   cleanup costs or, in the event that the dis-
excessive penalties, others are expressly related to                charge is “nonremovable,” for liquidated
the cost of cleanup and other remedial considera-                   damages        under       33     U.S.C.      §
tions. In the absence of evidence that excessive                    1321(b)(2)(B)(i) and § 1321(f). As the
penalties actually have been assessed, I would be                   Court of Appeals noted, payment of these
inclined to regard their likelihood as remote.                      damages does not relieve the owner or op-
                                                                    erator of liability for civil penalties under §
     For these reasons, I agree with the Court that                 311(b)(6). Ward v. Coleman, 598 F.2d
only the fifth Mendoza-Martinez factor, “whether                    1187, 1191 (CA10 1978).
the behavior to which [the sanction] applies is
already a crime,” 372 U.S., at 168, 83 S.Ct., at 168,           “The penalties are based on such factors as the
supports the respondent. Since I feel that this factor        gravity of the violation, the degree of culpability
alone does not mandate characterization of the pro-           and the prior record of the party. The fact that a
ceeding as “criminal” for purposes of the Fifth               party acted in good faith, could not have avoided
Amendment, particularly when other factors weigh              the discharge and, once it occurred, undertook
in the opposite direction, I concur in the judgment.          clean-up measures immediately is to be given no
                                                              consideration in relation to the ‘imposition or
Mr. Justice STEVENS, dissenting.                              amount of a civil penalty.’ ” Ward v. Coleman,
     There are a host of situations in which the Gov-         598 F.2d 1187, 1193 (CA10 1979).
ernment requires the citizen to provide it with in-             I agree with the Court of Appeals that, under
formation that may later be useful in proving that            these circumstances, application of the factors set
the citizen has some liability to the Government. In          forth in Kennedy v. Mendoza-Martinez, 372 U.S.
determining whether the combination of compul-                144, 83 S.Ct. 554, 9 L.Ed.2d 644, leads to the
sion and liability is consistent with the Fifth               conclusion that the penalty is a criminal sanction
Amendment, I would look to two factors: first,                rather than a purely regulatory measure.
whether the liability actually imposed on the citizen
is properly characterized as “criminal” and second,              That is not the end of the inquiry, however. A
if so, whether the compulsion of information was            reporting requirement is not necessarily invalid
designed to assist the Government in imposing such          simply because it may incriminate a few of the
a penalty rather than furthering some other valid           many people to whom it applies. Two examples
regulatory purpose.                                         from the tax field will illustrate my point. As this
                                                            Court held in Marchetti v. United States, 390 U.S.
     Although this case is admittedly a close one, I        39, 88 S.Ct. 697, 19 L.Ed.2d 889 and Grosso v.
am persuaded that the monetary penalty imposed on           United States, 390 U.S. 62, 88 S.Ct. 709, 19
respondent pursuant to § 311(b)(6) of the Federal           L.Ed.2d 906, statutes that are plainly designed to
Water Pollution Control Act, 33 U.S.C. §                    obtain information from a limited class of persons
1321(b)(6), was a “criminal” sanction for purposes          engaged in criminal activity in order to facilitate
of the Fifth Amendment protection against com-              their prosecution and conviction are invalid under
pelled self-incrimination. As the Court of **2646           the Fifth Amendment. On the other hand, when the
Appeals pointed out, penalties under § 311(b)(6)            general income tax laws require a full reporting of
are not calculated to reimburse the Government for          each taxpayer's income in order to fulfill the Gov-




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ernment's regulatory objectives, the fact that a par-                  the Internal Revenue Code are justified
ticular answer may incriminate a particular taxpay-                    by acceptable reasons of policy, entirely
er is not a sufficient excuse for refusing to *259                     unrelated to any purpose to obtain in-
supply the relevant information required from every                    criminating evidence against an accused
taxpayer. See United States v. Oliver, 505 F.2d 301,                   person othough the disclosure of defend-
                      FN2
307-308 (CA7 1974).                                                    ant's illegal income was compelled by
                                                                       statute, and even though we assume that
        FN2. As I suggested in Oliver :                                such disclosure might well have been in-
                                                                       criminating, the Marchetti holding does
           “The enactment of special legislation de-
                                                                       not justify the conclusion that the Fifth
           signed to procure incriminating disclos-
                                                                       Amendment excuses defendant's obliga-
           ures from a select group of persons en-
                                                                       tion to report his entire income.”
           gaged in criminal conduct was tan-
                                                                       (Footnotes omitted.) 505 F.2d, at
           tamount to an accusation commencing
                                                                       307-308.
           criminal proceedings against them. The
           statutory demand to register as a gambler             Thus, given that the statutory penalty in this
           was comparable to the inquisitor's de-           case is a criminal sanction, the issue becomes what
           mand that a suspect in custody admit his         the primary purpose of requiring the citizen to re-
           guilt. The admission, once made, would           port oil spills is. If it is to simplify the assessment
           almost inevitably become a part of the           and collection of penalties from those responsible,
           record of a criminal proceeding against a        it should fall within the reasoning of Marchetti and
           person who had already been accused              Grosso. On the other hand, if the **2647 require-
           when he confessed. Just as the Miranda           ment is merely to assist the Government in its
           decision may be read as having enlarged          cleanup responsibilities and *260 in its efforts to
           the adversary proceeding to commence             monitor the conditions of the Nation's waterways, it
           when the accused is first taken into cus-        should be permissible. Although the question is
           tody, Marchetti and comparable cases             again a close one, the automatic nature of the stat-
           have, for Fifth Amendment purposes,              utory penalty, which must be assessed in each and
           treated special statutes designed to se-         every case, convinces me that the reporting require-
           cure incriminating information from in-                                                             FN3
                                                            ment is a form of compelled self-incrimination.
           herently suspect classes of persons as the       I therefore respectfully dissent.
           commencement of criminal proceedings
           against those from whom incriminating                     FN3. As a result, I would hold that the
           information is demanded. Under this                       Government could not use a report filed by
           analysis, we must test the applicability                  an individual owner or operator in assess-
           of the Fifth Amendment to a self-                         ing a civil penalty under § 311(b)(6).
           reporting statute at the time that disclos-               However, I believe the Government could
           ure is compelled.                                         still use such a report in assessing damages
                                                                     under either § 311(b)(2)(B)(i) or § 311(f),
           “The statute which defendant Oliver is                    see n. 1, supra, since penalties assessed
           accused of violating is applicable to the                 under those subsections are regulatory
           public at large, and its demands for in-                  rather than punitive in character.
           formation are neutral in the sense that
           they apply evenly to the few who have
           illegal earnings and the many who do             U.S.Okl.,1980.
           not. The self-reporting requirements of          U.S. v. Ward




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